        Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 1 of 80



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    PETER ALLEN, et al.,

                      Plaintiffs,
                                               No. 19-CV-8173 (LAP)
    -against-
                                                  OPINION & ORDER
    CARL KOENIGSMANN, et al.,

                      Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

        Before the Court is Plaintiffs’ application to convert the

preliminary injunction into a permanent injunction. 1 Dr. Moores

opposed the application. 2 For the reasons below, Plaintiffs’

application is GRANTED.

I.      Procedural History
        A. The Preliminary Injunction

        On March 31, 2023, the Court filed an opinion granting

Plaintiffs’ motion for a preliminary injunction and reserving

ruling on the terms of the injunction pending receipt of the

parties’ proposals. (Dkt. no. 552, the preliminary injunction

opinion (“Pre. Inj. Op.”).) On June 12, 2023, following its




1 (See dkt. nos. 574, 583, and 803, Plaintiff Class’s Post-Trial
Brief (“Pl. Br.”).)

2 (See dkt. nos. 576, 583, and 802, Defendant Dr. Carol Moores’
Post-Trial Brief (“Moores Br.”).)


                                      1
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 2 of 80



receipt of the parties’ proposed terms, 3 the Court ordered the

terms of the preliminary injunction. (See dkt. no. 602.)

     B. The Permanent Injunction Trial

     On May 3, 2023, Plaintiffs requested “a pre-motion

conference regarding an intended application requesting that the

Court convert its anticipated preliminary injunction to a

permanent injunction or the scheduling of a trial on the merits

of Plaintiffs’ request for a permanent injunction.” (See dkt.

no. 574 at 1.) The next day, Dr. Moores responded to Plaintiffs’

letter, arguing that the Court should not entertain Plaintiffs’



3 Pursuant to the cautions embodied in Dean v. Coughlin, 804 F.2d
207, 213 (2d Cir. 1986), and out of respect for Dr. Moores’
experience in correctional healthcare, the Court allowed
Dr. Moores the opportunity to draft proposed terms for the
preliminary injunction. (See dkt. nos. 575 and 575-1.) The Court
found Dr. Moores’ first draft of the proposed terms to be
“bordering on bad faith” because her terms only applied to the
seven class members whose care was discussed at the preliminary
injunction hearing. (Dkt. no. 583 at 3:2-6.) The Court ordered
Dr. Moores to try drafting terms again after conferring with
Plaintiffs’ Counsel. (Id. at 11:8-22, 13:16-25.)

On May 16, 2023, Plaintiffs filed Dr. Moores’ second draft of
the terms of the preliminary injunction along with a letter
explaining their objections to the draft terms and requesting
the opportunity to draft terms themselves. (Dkt. no. 579 and
579-1.) The Court granted Plaintiffs’ request. (Dkt. no. 580.)
On May 25, 2023, Plaintiffs filed their proposed terms for the
preliminary injunction. (Dkt. no. 586 and 586-1.)

On May 31, 2023, the Court held a conference with the parties
where it reviewed Plaintiffs’ proposed terms for the preliminary
injunction. On June 2, 2023, Plaintiffs submitted updated terms
reflecting the agreements and orders discussed during the
conference. (See dkt. no. 591 and 591-1.)
                                   2
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 3 of 80



anticipated motion to convert because: 1) Dr. Moores needed time

to demonstrate compliance with the terms of the not-then-entered

preliminary injunction; and 2) the Court needed to hold a trial

on the merits before converting the preliminary injunction to a

permanent injunction. (See dkt. no. 576.)

     On May 9, 2023, the Court held a conference with the

parties in which Plaintiffs again raised their motion to

convert. (See dkt. no. 583 at 11:23-24.) The Court ruled that it

would proceed with a trial on the merits for the permanent

injunction. (See id. at 12:15-13:11, 14:1-23.) In general, the

Prison Litigation Reform Act provides that “[p]reliminary

injunctive relief shall automatically expire on the date that is

90 days after its entry . . . .” 18 U.S.C. § 3626(a)(2). On June

20, 2023, the Court ruled that the preliminary injunction record

would be incorporated into the permanent injunction trial record

and noted that it was not bound by any findings of fact or

conclusions of law made in the preliminary injunction opinion.

(See dkt. no. 616.)

     What follows is a review of the evidence relevant to the

motion to convert presented in the parties’ briefs, the trial

record, and other associated submissions. The Court presumes the

parties’ familiarity with the more general facts of the case.




                                   3
      Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 4 of 80



II.   Relevant Facts from the Trial on the Merits
      A. DOCCS Medical Practices under the MWAP Policy

      Plaintiffs called fifteen witnesses at the permanent

injunction trial. Three of them, Drs. Carinci, Mueller, and

Dinello, primarily testified as to DOCCS’ medical practices

under the MWAP policy before it was rescinded in February 2021.

The Court found the testimony of Drs. Mueller and Dinello to be

largely irrelevant to the issue of the permanent injunction

because Dr. Dinello left DOCCS’ employ in March 2021, (dkt. no.

796 (“Sept. 8 Tr.”) at 716:7-16), and Dr. Mueller does not

currently treat or prescribe medications to any DOCCS patients

or review any prescriptions written by other providers. (Dkt.

no. 792 (“Sept. 6 Tr.”) at 445:16-446:22). The remaining twelve

witnesses were plaintiff class members who testified as to their

current treatment under Policy 1.24A. 4




4 The Court will not discuss in detail the testimony of Mark
Daniels. Mr. Daniels testified that he was prescribed Lyrica in
April 2023 and that though it helped his pain a little, he
requested that he be taken off Lyrica completely due to the side
effects he experienced. (Dkt. no. 790 (“Sept. 5 Tr.”) at 102:18-
103:9.) Mr. Daniels ultimately agreed to remain on Lyrica until
he could discuss the medication with a pain management
specialist. (Id. at 103:10-17.) However, his Lyrica prescription
was discontinued several times upon transfer. (Id. at 103:18-
114:10.) While this testimony shows evidence of DOCCS medical
providers’ discontinuing pain medications upon transfer without
first meeting with or examining the patient, Mr. Daniels’s
testimony regarding the inefficacy of Lyrica in treating his
pain and the intolerable side effects he experienced while
taking Lyrica limits the value of this (footnote continued)
                                    4
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 5 of 80



        i.   Dr. Adam Carinci

             a. Background

     Dr. Adam Carinci is an associate professor of

anesthesiology and pain management at the University of

Rochester Medical Center. (Sept. 6 Tr. at 233:8-19.) His

specialty is pain management. To be able to practice this

specialty, he completed a one-year fellowship at Massachusetts

General Hospital and Harvard Medical School. (Id. at 233:5-7,

234:8-12.) Dr. Carinci’s current pain management practice is an

outpatient practice in which he prescribes medication and

interventional procedures to help treat his patients’ pain. (Id.

at 234:13-24.) Dr. Carinci has treated patients as a pain

management specialist continuously since 2009 and has treated

“[w]ell-over 10,000 patients” in that time. (Id. at 234:25-

235:19.) Plaintiffs moved without objection to certify Dr.

Carinci as an expert in pain management, which the Court

approved. (Id. at 235:20-23.) 5



(continued) evidence as it relates to the deliberate
indifference claims that underpin the permanent injunction
application.

5 Dr. Moores attempted to impugn Dr. Carinci’s credibility by
referencing his testimony in other cases on behalf of what
Dr. Moores characterizes as “pill mill[s].” (See, e.g., Moores
Br. at 9, n.1.) Dr. Moores’ attempt is unpersuasive. The Court
finds Dr. Carinci to be a credible expert in pain management.

Dr. Moores also notes that, like the DOCCS medical providers
whose care he critiques in his report, (footnote continued)
                                   5
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 6 of 80



             b. The Practice of Pain Management

     Dr. Carinci testified that “individualized patient

assessment is critical to the standard of care” in a pain

management practice because “no two patients will respond in the

same way to a given medication.” (Sept. 6 Tr. at 249:25-250:12.)

Indeed, Dr. Carinci testified that in the practice of pain

management, “individual patient assessment is really paramount

to effective treatment.” (Id. at 250:13-17.)

     Dr. Carinci testified that in the pain management

specialty, many of the medications he and other medical

providers prescribe to their patients are used in a way that is

“off label or not FDA approved.” (Id. at 300:21-301:4; 301:13-

16.) Dr. Carinci explained that a medication is only approved

for a particular condition after a clinical trial has been done

to address a specific question; for example, whether Neurontin 6

is more effective in treating diabetic peripheral neuropathy

than a placebo. If the results showed that Neurontin was more

effective, the FDA would then approve the use of Neurontin for


(continued) Dr. Carinci made findings regarding many patients
who he did not personally examine and without discussing the
patients with their medical providers. (Id. at 9-10.) The Court
accepts these facts and has considered them in determining the
weight to assign to Dr. Carinci’s report.
6 Neurontin (generic name gabapentin) is an anti-seizure drug
that is also prescribed to treat nerve pain. (Sept. 6 Tr. at
351:4-17; 301:5-23.) Any references in the record to gabapentin
will be changed to Neurontin for the purposes of this opinion.
                                   6
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 7 of 80



diabetic peripheral neuropathy. (Id. at 301:5-13.) Dr. Carinci

thus testified that a Regional Medical Director’s (“RMD”)

discontinuing a medication as not appropriate because it was

being used off-label or in a way that was not FDA-approved was

“not consistent with the practice of medicine” because in the

pain management practice “many of these medications are used off

label or not FDA approved.” (Id. at 300:24–301:4; 301:16-23.)

     Dr. Carinci explained that different medications can “fail”

for different patients. Dr. Carinci testified that drug failure

can take one of three forms: 1) the drug did not provide

efficacy in treating the patient’s pain; 2) the drug caused

intolerable side effects; or 3) there were other

contraindicators with the drug, such as drug to drug

interactions or underlying medical problems. (Id. at 269:22-

270:15.)

     Dr. Carinci testified that a patient’s history of substance

abuse was an important factor in determining the patient’s pain

management care. (Id. at 257:10-15.) However, Dr. Carinci also

testified that a “remote history of abuse is not an absolute

contraindication to prescribing medications with abuse

potential.” (Id. at 258:1-3.) Dr. Carinci elaborated that

“people with a history of abuse are routinely prescribed

medications with abuse potential” and that he does this in his


                                   7
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 8 of 80



own practice. (Id. at 258:3-5.) Dr. Carinci testified that he

felt that an “active addiction is very different than a history

of remote addiction” and “remote really can be anything other

than an ongoing active addiction.” (Id. at 258:21-259:8.)

Dr. Carinci also testified that the abuse potential of a

medication would not be a medical basis for discontinuing a

medication that was otherwise effective. (Id. at 273:17-21.)

     The Court found Dr. Carinci to be a credible witness.

             c. The MWAP Policy

     As part of his review of DOCCS’ MWAP policy, Dr. Carinci

studied the medical records of seventy patients and ten thousand

MWAP request forms and conducted physical examinations of

seventeen patients in DOCCS facilities. (See Exhibit P-137,

Expert Report of Dr. Adam Carinci, “Carinci Report.”)

Dr. Carinci testified that “in many, many instances,” the MWAP

policy caused DOCCS providers to discontinue Neurontin for non-

medical reasons and “without regard to the individual patient

parameters.” (Sept. 6 Tr. at 272:7-273:16.) Dr. Carinci

testified that based on the medical records he reviewed, the

assessments conducted by DOCCS providers were poor. (Id. at

256:23-257:1.) Dr. Carinci testified that the assessments

reflected in the medical records were “often very superficial,”

lacking any evidence that the DOCCS provider performed “any sort


                                   8
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 9 of 80



of physical exam” to corroborate a patient’s subjective

complaints of pain. (Id. at 257:2-9.)

     Dr. Carinci felt that the MWAP policy “overstepped” the

“potential abuse liability of certain medications” covered by

the policy, like Neurontin and Lyrica, 7 which have “exceedingly

low” abuse liability. (Id. at 262:14-25.) Dr. Carinci noted that

concerns about abuse of Neurontin, for example, would be

especially low in a prison environment because Neurontin could

be administered in a liquid form one unit dose at a time.

Dr. Carinci compared this to the standard in the wider community

where a patient could receive a jar of 180 to 360 tablets of

Neurontin in one prescription. (Id. at 263:18-264:3.)

Dr. Carinci testified that in his fifteen years of practice, he

had never: 1) been concerned that one of his patients was

abusing or selling Neurontin; 2) had any patients ask for more

Neurontin than he provided; 3) had any patients ask him for an

very early refill of their Neurontin prescription; 4) had a

family member report that a patient was over-taking Neurontin;

or 5) had any patients fail a urine screen for Neurontin. (Id.

at 265:6-16.) Dr. Carinci has had a similar experience with

Lyrica. (Id. at 266:16-17.) By contrast, he has had these issues


7 Lyrica (generic name pregabalin) is a newer, more potent
version of gabapentin. (Sept. 6 Tr. at 274:13-19.) Any
references in the record to pregabalin will be changed to Lyrica
for the purposes of this opinion.
                                   9
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 10 of 80



with other medications he prescribes in his practice, such as

opioids. (Id. at 265:17-266:15.)

     Dr. Carinci’s criticism of the MWAP policy is focused on

the fact that the RMDs had the power to veto primary care

physician (“PCP”) prescriptions for their patients when the RMDs

did not evaluate the patients or have access to the patients’

medical records. (Id. at 267:6-17.) The MWAP request forms that

the RMDs reviewed to inform their decisions did not include data

on specialist recommendations, medications that had been tried

and failed, or the efficacy of different medications. (Id. at

267:23–268:4.) Dr. Carinci found that due to the MWAP policy,

DOCCS patients’ medications were discontinued without an

individualized assessment. (Id. at 267:1-2; 272:7-13.)

Dr. Carinci testified that if a medical provider does not have a

reason to discontinue an effective medication, that medical

provider is causing his or her patient harm. (See id. at 282:24-

283:1.) Dr. Carinci never saw any evidence that an RMD followed

up about a patient’s treatment after discontinuing or denying

that patient an MWAP medication. (See id. at 269:4-7.)

     Dr. Carinci concluded that the MWAP policy prevented DOCCS

patients from getting Neurontin and Lyrica, among other

medications. (Id. at 263:1-4.) Dr. Carinci testified that PCPs

would “repeatedly” ask for MWAP drugs, and they would be


                                   10
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 11 of 80



“repeatedly denied.” (Id. at 268:17-23.) Dr. Carinci testified

that these medications were “refused so often that [the PCPs]

basically stopped asking for them.” (Id. at 268:17-20.) Dr.

Carinci testified that PCPs were left “sort of cycling back to

the same three medications that had been tried and failed over

and over again”: ibuprofen, Elavil, 8 and Cymbalta. 9 (Id. at

268:20-25.) Dr. Carinci testified that DOCCS PCPs understood

they could prescribe these three drugs without having to receive

authorization from their RMDs. (Id. at 269:8-16.) Dr. Carinci

testified that this led DOCCS PCPs to try to treat patients with

these medications even when they had been “tried and failed

before” or even when there were “contraindications” to using

these medications. (Id. at 269:16-20.)

     As an example of how this cycle of drug failure occurred

during the MWAP policy, Dr. Carinci testified that he saw

instances of patients suffering from constipation or lack of



8 Elavil (generic name amitriptyline) is a “tricyclic
antidepressant medication” that is also a “first-line medication
for chronic pain” and a “valid treatment” for some patients with
neuropathic or chronic pain. (Sept. 6 Tr. at 271:3; 369:3-20.)
Any references in the record to amitriptyline will be changed to
Elavil for the purposes of this opinion.

9 Cymbalta (generic name duloxetine) is an antidepressant used to
treat anxiety or depression that is also a “valid treatment” for
some patients with neuropathic or chronic pain. (Sept. 6 Tr. at
271:20-24; 369:15-22.) Any references in the record to
duloxetine will be changed to Cymbalta for the purposes of this
opinion.
                                   11
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 12 of 80



urinary retention who were continued on an Elavil prescription,

even though these conditions are common side effects from taking

Elavil. (Id. at 270:19-271:19.) Dr. Carinci also saw instances

where patients were put on Cymbalta for pain despite already

being on another antidepressant for anxiety or depression. In

such instances, putting the patient on Cymbalta could lead to

drug-to-drug interactions that could precipitate depression or

mania. (Id. at 271:20-272:6.)

     B. DOCCS Patients Whose Medications Were Discontinued Under
        the MWAP Policy and Re-Prescribed in 2023 After They
        Contacted Plaintiffs’ Counsel

      i. Kenneth Windley

     Kenneth Windley came into DOCCS custody in April 2007. (See

Dkt. no. 794 (“Sept. 7 Tr.”) at 475:5-8.) He does not currently

have a substance abuse problem. (Id. at 476:1-3.) Mr. Windley

suffers from a severe case of spinal stenosis. (Id. at 476:22-

24.) His condition causes him severe back pain and led to a

condition called “drop foot” which interferes with his ability

to walk. (Id. at 476:4-21.) Mr. Windley went through two

surgeries in 2013 and 2015 to address his spinal stenosis,

though they did not ameliorate his chronic pain. (Id. at 477:3-

16.) In 2015, while he was housed at Green Haven Correctional

Facility (“Green Haven”), Mr. Windley was prescribed Percocet

and Neurontin, which he testified helped with his chronic pain.

(Id. at 477:17-478:2; 478:7-10.) Mr. Windley testified that he

                                   12
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 13 of 80



moved “a little better” when he was not in as much pain. (Id. at

478:3-6.) However, his medications were discontinued in mid-

2015. (Id. at 478:14-22.) When Mr. Windley spoke to his medical

providers, Drs. Wolf, Kenning, Goldman, and Bode, about the pain

he was feeling due to the discontinuation of his medication,

they prescribed him ibuprofen 600 and told him that it was “all

they had.” (Id. at 479:19-480:17.)

     In August 2021, Mr. Windley was transferred to Woodbourne

Correctional Facility (“Woodbourne”). (Id. at 480:21-481:1.) He

told PA Switz, his provider at Woodbourne, that he was suffering

from chronic pain, and she continued a prescription he had for

Cymbalta, which he said helped “a little bit” to treat his pain.

(Id. at 481:15–16.) However, he asserted he “still was feeling

major pain.” (Id. at 481:2-16.) Mr. Windley testified that he

was medically unemployed (i.e., without prison programming)

because it was hard for him to sit for long periods and hard for

him to walk due to his conditions. (Id. at 481:17-482:6.) Mr.

Windley testified credibly that he told PA Switz that Cymbalta

was not significantly helping with his pain, and she replied

that they did not “give that medication there,” an apparent

reference to his Neurontin prescription that was discontinued at

Green Haven in 2015. (Id. at 482:7-10.)




                                   13
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 14 of 80



     After Woodbourne, Mr. Windley was transferred to the

special housing unit (“SHU”) at Sullivan Correctional Facility

(“Sullivan”) due to a conviction for drug possession. (Id. at

482:14-20.) Mr. Windley testified that the drugs were not his

and that he was not given a drug test at the time to see if the

drugs were in his system. (Id. at 482:18-483:7; 484:12-16.)

     In September 2022, Mr. Windley was transferred to

Adirondack Correctional Facility (“Adirondack”). (Id. at 484:8-

11; 485:21-25.) He did not meet his medical provider, Nurse

Practitioner (“NP”) Dahlia Wiggan, until two and a half months

after he arrived at Adirondack. (Id. at 485:2-10; 491:10–11.)

During that time, he submitted sick call slips to meet with his

provider but was only given access to the nursing staff. (Id. at

485:15-20.) Dr. Moores offered into evidence Defense Exhibit 23,

a refusal form signed by Mr. Windley and dated September 26,

2022, that appeared to show Mr. Windley refusing a “[n]ew draft

appointment” with his medical provider. (Id. at 491:23-493:8.)

However, Mr. Windley denied refusing the appointment with his

medical provider and testified that while he signed the form,

the words on the form detailing the service he was refusing were

“not in place on that paper” when it was given to him by the

prison officer. (Id. at 492:4-493:17.) The Court credits his

testimony.



                                   14
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 15 of 80



     When Mr. Windley met with NP Wiggan in November 2022, he

told NP Wiggan that he was feeling “a lot of pain every day,”

that he had been on effective treatments previously, and that he

needed to see a specialist. (Id. at 485:11-14; 486:1-12.)

Mr. Windley testified that she only gave him meloxicam. When

Mr. Windley told NP Wiggan that the meloxicam did not

effectively treat his pain, she referred him to get an x-ray

an1d an MRI, which took about a month. (Id. at 486:9-20; 494:20-

25.) Mr. Windley testified that at his first appointment, NP

Wiggan prescribed him a back brace and leg braces to treat his

pain and help him walk. (Id. at 495:7-17.)

     Mr. Windley testified that following the MRI, NP Wiggan had

not prescribed him effective treatment for his pain. (Id. at

486:21-23.) However, Mr. Windley testified that he saw NP Wiggan

a second time in March 2023 where NP Wiggan asked him if the

meloxicam was helping his pain. (Id. at 495:18–24.) Mr. Windley

testified that after he told her the meloxicam was not helping

his pain, NP Wiggan prescribed him Neurontin and Ultram. (Id. at

495:18-496:11.) Mr. Windley noted that NP Wiggan prescribed him

the Neurontin and Ultram only after he contacted Plaintiffs’

Counsel. (Id. at 486:24-488:8.) NP Wiggan initially prescribed

Mr. Windley three hundred milligrams of Neurontin and fifty

milligrams of Ultram and increased the Neurontin dosage to six



                                   15
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 16 of 80



hundred milligrams after Mr. Windley told her that he was still

in pain. (Id. at 486:24-488:8; 497:5-17.)

     Mr. Windley testified that at the second appointment in

March 2023, NP Wiggan referred him to a neurosurgeon whom he had

seen twice and who ordered Mr. Windley an EMG test that was

completed. (Id. at 496:12-497:4.) The neurosurgeon wanted to

fuse the disc on his S1 vertebrae to take the pain off his

nerve. (Id. at 498:14-16.) Mr. Windley testified that his new

prescription sometimes helped with his chronic pain. (Id. at

488:9-12.) No one at Adirondack has discontinued his medications

since they were prescribed in March 2023 or since he contacted

Plaintiffs’ counsel. (Id. at 486:24–487:10; 490:22-491:6.)

     The Court found Mr. Windley to be a credible witness.

       ii.   Samson Burch

     Samson Burch entered DOCCS custody in 1981. (Sept. 7 Tr. at

506:24-507:3.) He suffers from sciatic nerve damage and a

degenerated disc. (Id. at 507:25-508:5.) Mr. Burch testified

that his pain is so intense that he must fight for ten minutes

to get out of bed. (Id. 508:6-12.) He now walks with a permanent

limp due to his pain. (Id. at 508:17-23.) Mr. Burch testified

that his pain prevents him from lifting lightweight objects,

prevents him from exercising, and interferes with his sleep.

(Id. at 509:9-510:2.)

                                   16
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 17 of 80



     Mr. Burch testified that he used to receive Neurontin and

Ultram three times a day and that they eliminated his pain. (Id.

at 510:3-22.) Mr. Burch testified his medications were

discontinued while he was at Greene Correctional Facility

(“Greene”) between 2018 and 2020. (Id. at 510:23-511:7.)

Mr. Burch testified credibly that his provider, Dr. Keiser, was

upset about the discontinuation and that the doctor said he was

forced to discontinue Mr. Burch’s medication by someone higher

up in Albany. (Id. at 511:11-25.) Mr. Burch testified that Dr.

Keiser did not want to discontinue his medication because Dr.

Keiser knew it was helping Mr. Burch. (Id. at 512:1-3.) Mr.

Burch testified that Dr. Keiser prescribed him Elavil instead,

which did not help with Mr. Burch’s pain. (Id. at 512:4-11.) Mr.

Burch testified that Dr. Keiser tried to see if he could

prescribe Mr. Burch a different medication, but he told Mr.

Burch that he could only prescribe Elavil. (Id. at 512:14-22.)

Dr. Keiser then increased Mr. Burch’s Elavil dosage, which Mr.

Burch testified helped him “very slightly.” (Id.) Mr. Burch

testified that he continued taking Elavil. (Id. at 512:23-25.)

     In 2020 or 2021, Mr. Burch was transferred to Adirondack,

where he is currently housed. (Id. at 513:1-5.) Mr. Burch’s

Elavil prescription was continued after his transfer to

Adirondack. (Id. at 517:12-22.) Mr. Burch testified that he

spoke to his provider, NP Wiggan, about his chronic pain. (Id.
                                   17
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 18 of 80



at 513:16-19.) Mr. Burch testified that NP Wiggan first

prescribed him meloxicam, which he said was “useless.” (Id. at

513:18-25.) Mr. Burch testified he then contacted Plaintiffs’

Counsel, and following that contact, he met with NP Wiggan again

to tell her that his Elavil prescription was not working. (Id.

at 514:8-22; 516:19-517:11.) Mr. Burch testified that the same

day, NP Wiggan discontinued his Elavil prescription and

prescribed him six hundred milligrams of Neurontin twice a day.

(Id.) Mr. Burch testified that he received his new prescription

for Neurontin in 2023 and that it had helped his chronic pain

“somewhat.” (Id. at 514:11-25.) Mr. Burch testified that he had

previously been on a much higher dosage of Neurontin and had

recently filed a sick call slip to discuss his treatment with

NP Wiggan. (Id. at 515:1-12.) Mr. Burch testified that his

Neurontin prescription works better to treat his pain than the

Elavil he had previously taken. (Id. at 518:2-4.) Mr. Burch

testified that since he arrived at Adirondack, he had also been

prescribed a back brace to help with his pain. (Id. at 518:5-9.)

     The Court found Mr. Burch to be a credible witness.




                                   18
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 19 of 80



     C. DOCCS Patients Whose Medications Were Discontinued Under
        the MWAP Policy and Re-Prescribed After the Preliminary
        Injunction Order Was Issued

      i. Tina Vivenzio

     Tina Vivenzio came into DOCCS custody in 2014. (Sept. 5 Tr.

at 9:21-23.) She suffers from degenerative back disease,

neuropathy, and restless legs. (Id. at 10:4-7.) When she came

into DOCCS custody, Ms. Vivenzio was taking Indocin, Mobic,

Belbuca, and Neurontin. (Id. at 10:9-13.) Ms. Vivenzio said that

while she was on Neurontin, it helped her to “move around

better,” enabled her to walk around and do more activities,

relieved some of the pain she suffered due to her neuropathy,

and significantly improved her sleep. (Id. at 11:2-9.) Ms.

Vivenzio has a history of opioid addiction, having taken

Suboxone without a prescription as recently as 2017. (Id. at

25:23-26:6.)

     When Ms. Vivenzio was transferred from Bedford Hills

Correctional Center (“Bedford Hills”) to Albion Correctional

Center (“Albion”) in December 2017, her Neurontin prescription

was discontinued. (Id. at 11:10-12:10.) She does not remember

who specifically discontinued her Neurontin prescription, but

she found out that it was discontinued when she went to receive

her medication at the medication window. (Id. at 12:11-18.) Ms.

Vivenzio testified credibly that she spoke to her provider about

why her Neurontin prescription was discontinued, and he told her

                                   19
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 20 of 80



that it was “cut off by Albany because it was now a controlled

substance.” (13:13-18.)

     Ms. Vivenzio testified that without her Neurontin

prescription, her back pain was “terrible” and, along with her

leg neuropathy, prevented her from sitting or standing for long

stretches. (Id. at 12:22-13:1.) Ms. Vivenzio testified that

after her Neurontin was discontinued, she was not given anything

that was effective in treating her neuropathic symptoms. (Id. at

18:14-18.) Ms. Vivenzio testified that she tried Mobic and

Elavil as alternatives to Neurontin and neither helped her. (Id.

at 18:14-19:4.)

     Ms. Vivenzio testified that in the last year, she started

seeing a new medical provider at Albion, NP Bode. (Id. at 19:17-

25.) Ms. Vivenzio said that around July 2023, NP Bode restored

Ms. Vivenzio’s Neurontin prescription and sent her out to see a

neurologist. (Id. at 19:7-19; 20:21-21:6.) 10 Ms. Vivenzio

testified that the Neurontin she now receives significantly




10Dr. Moores’ Counsel asserted during cross examination that
Ms. Vivenzio’s medical records showed that her Neurontin
prescription was restarted by NP Bode in October 2022 rather
than July 2023. (Sept. 5 Tr. at 24:14-25:1.) However, Dr. Moores
did not offer Ms. Vivenzio’s relevant medical records as
evidence. Thus, the Court adopts Ms. Vivenzio’s testimony as the
date she was re-prescribed Neurontin.


                                   20
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 21 of 80



improves her mobility, allowing her to do more, stand more, and

work more. (Id. at 21:7-11.)

     Ms. Vivenzio testified that in August 2023, she

participated in an annual pain assessment with NP Bode. During

the pain assessment, Ms. Vivenzio testified that she was

currently taking baclofen, 11 Neurontin, and Indocin for her pain.

(Id. at 26:17-27:4.) When she saw the neurologist in July 2023,

the neurologist recommended that Ms. Vivenzio take baclofen for

her back spasms, which NP Bode then prescribed. (Id. at 29:5-

18.) The neurologist also recommended that Ms. Vivenzio’s

Neurontin dosage be increased, which NP Bode prescribed. (Id. at

30:7-10.)




11Baclofen is a muscle relaxant and an antispasmodic agent that
treats muscle-related pain. (Sept. 6 Tr. at 275:17-24.)
Dr. Carinci testified that while the MWAP policy was in place,
baclofen was “reverted to as the muscle relaxant of choice.”
(Id. at 275:20-21.) Dr. Carinci testified that there was an
“overprescription” of baclofen even when it had been tried and
failed, even when there were medical reasons not to use it, and
even when there were other muscle relaxants that were equally or
more efficacious. (Id. at 275:20–276:3.) Dr. Carinci testified
that he thought “most providers would reserve baclofen later
down the line” until after an alternative muscle relaxant had
failed because “baclofen is so heavily sedating.” (Id. at
276:10-12.) Dr. Carinci also noted that once a patient is on
baclofen, the medication cannot be abruptly discontinued. It
must be tapered down to avoid withdrawal. (Id. at 276:12-18.)

                                   21
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 22 of 80



     Ms. Vivenzio also indicated in her pain assessment that she

had previously used a TENS unit, 12 that she currently uses a knee

brace, two wrist braces, heat sources, and ice, all to treat her

pain. (Id. at 27:12-29:1.) Ms. Vivenzio asked NP Bode for a

lidocaine patch and diclofenac gel to treat her pain, which

NP Bode prescribed for her. (Id. at 29:19-30:6.)

     The Court found Ms. Vivenzio to be a credible witness.

       ii.   Marc Confessore

     Marc Confessore entered DOCCS custody in 2017. (Sept. 7 Tr.

at 520:13-15.) Mr. Confessore suffers from “real bad pains” in

his lower back and right shoulder, and had suffered both a

broken foot and a broken finger, the latter of which resulted in

tremors in his finger. (Id. at 520:23-521:6.) Mr. Confessore

testified credibly that his pain was “terrible” and kept him

from getting out of bed most of the day. (Id. at 521:7-15.) Mr.

Confessore testified that Neurontin was effective in treating

his pain. (Id. at 521:25-522:4.) He first received Neurontin at

Rikers Island (“Rikers”) in 2018. (Id. at 522:5-15.) Once he



12A transcutaneous electrical nerve simulation (“TENS”) unit is
a small electronic device that serves to alleviate a patient’s
pain by placing electrodes on his or her skin to activate his or
her nerves. See Dac Teoli, M.D. and Jason An, M.D.,
Transcutaneous Nerve Simulation, NATIONAL LIBRARY OF MEDICINE (last
updated Jan. 22, 2023),
https://www.ncbi.nlm.nih.gov/books/NBK537188/; see also Sept. 5
Tr. at 180:1–13.
                                   22
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 23 of 80



entered DOCCS custody, Mr. Confessore stopped in Downstate

Correctional Facility (“Downstate”) before he was transferred to

Sing Sing Correctional Facility (“Sing Sing”) in 2019, where his

Neurontin prescription was discontinued. (Id. at 522:16-20;

524:5-23.) Mr. Confessore testified credibly that the medical

provider who discontinued his Neurontin told Mr. Confessore that

the medical provider could not get Neurontin anymore. (Id. at

523:4-7.) Mr. Confessore testified that he was not prescribed

any alternative medications. (Id. at 525:5-7.)

     After Sing Sing, Mr. Confessore was transferred to Upstate

Correctional Facility (“Upstate”) and then Clinton Correctional

Facility (“Clinton”). (Id. at 525:13-526:11.) Mr. Confessore

testified that in both facilities he was only given ibuprofen

for his pain despite frequently putting in sick call requests

and grievances and expressing his pain to his providers. (Id. at

525:13-527:2.)

     After Clinton, Mr. Confessore was transferred to Bare Hill

Correctional Facility (“Bare Hill”), where he is currently

housed. (Id. at 527:3-4.) His medical provider at Bare Hill is

Dr. Connolly, who did not originally prescribe him Neurontin

despite his explaining to Dr. Connolly that Neurontin was

effective in treating his pain. (Id. at 527:5-20.)

Mr. Confessore testified that Dr. Connolly first prescribed him


                                   23
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 24 of 80



ibuprofen. After Mr. Confessore complained of an upset stomach,

Dr. Connolly prescribed Mr. Confessore meloxicam. (Id. at 533:5-

21.) Mr. Confessore testified that he had seen Dr. Connolly

about his hand tremors and that Dr. Connolly referred him to a

hand specialist. (Id. at 533:22-534:4.) Mr. Confessore testified

that he saw the specialist and Dr. Connolly prescribed him

primidone to treat his tremors, but Mr. Confessore complained

that the primidone made him tired, and he refused to continue

taking it. (Id. at 534:7-17.)

     Mr. Confessore testified that he complained about having

back pain in a sick call request in July 2023 and that he was

seen by Dr. Connolly in the first week of August 2023. (Id. at

531:21-532:1.) Mr. Confessore testified that during that

appointment, Dr. Connolly asked about his back pain and his

tremors. (Id. at 532:2-6.) Mr. Confessore testified credibly

that at this meeting, he told Dr. Connolly that he was still in

pain, just as he had been telling Dr. Connolly “for the past two

and a half years.” (Id. at 532:7-16.) Mr. Confessore testified

that Dr. Connolly re-prescribed him Neurontin at that

appointment, the day before Mr. Confessore’s deposition in this

case was set to take place. (Id. at 527:21-530:10; 532:17-19.)

     Mr. Confessore testified that the Neurontin prescription

makes his pain “a lot better” and has “absolutely” been


                                   24
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 25 of 80



effective in treating his pain. (Id. at 527:15-17; 530:7-12.)

Mr. Confessore testified that he has been on Neurontin

continuously since it was re-prescribed. (Id. at 532:23-533:1.)

Mr. Confessore testified that due to his history of abusing

Percocet, Xanax, and Klonopin, he is in the MAT program, a

treatment program that DOCCS offers for patients who suffer from

opioid-abuse disorder. (Id. at 535:14-536:5; Sept. 5 Tr. at

79:6–10.)

     The Court found Mr. Confessore to be a credible witness.

     D. DOCCS Patients Whose Medications Were Discontinued
        Without Medical Justification After DOCCS Promulgated
        Policy 1.24A

      i. James Pine, Sr.

     James Pine, Sr. entered DOCCS custody in February 2008.

(Sept. 5 Tr. at 39:2-4.) His worst medical condition is the

neuropathy he sustained in his right leg following a hip

replacement. (Id. at 39:13-16.) When left untreated, Mr. Pine

slept eight to twelve minutes at a time because his left leg

spasmed and his right leg cramped, leaving him with constant

burning, shooting pains down the leg. (Id. at 39:22-40:4.)

Mr. Pine testified that he was sometimes bedridden the entire

day due to the pain he experienced traversing the stairs of the

prison. (Id. at 40:6-16.) Mr. Pine has dealt with this pain

since 2009, when he slipped at Great Meadow Correctional


                                   25
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 26 of 80



Facility (“Great Meadow”) and fractured his pelvis. (Id. at

40:18-25.) At Green Haven, where Mr. Pine was housed from 2011

to 2022, Mr. Pine was formally diagnosed with nerve damage by

his medical provider, Dr. Silver. (Id. at 41:2-13; 55:11-14.)

Mr. Pine has a history of substance abuse. (Id. at 53:14-54:2.)

     While he was at Green Haven, Dr. Silver prescribed Mr. Pine

Neurontin and MS Contin. (Id. at 41:24-42:6.) Mr. Pine testified

that his Neurontin was discontinued in 2017. (Id. at 42:14-20.)

When Mr. Pine was told at the medication window that his

Neurontin was discontinued, he filed for sick call to talk to

Dr. Silver about his prescription and he testified credibly that

Dr. Silver told Mr. Pine that his hands were tied because Dr.

Hammer told him that the Neurontin prescription was

discontinued. (Id. at 42:21-43:1; 43:25-45:8.)

     Mr. Pine testified that after his Neurontin prescription

was discontinued, he was “left to suffer from that point on.”

(Id. at 45:10-12.) He described the intensity of his nerve pain

as “horrible,” characterizing it as a “burning” sensation, and

recounting that his “leg would be numb and cramp all night

long.” (Id. at 45:10-19.) Mr. Pine recalled that when he was

receiving his Neurontin prescription, he was able to get out of

bed in the morning, walk, and exercise regularly. (Id. at 46:1-

6.) Mr. Pine testified credibly that he “constantly ask[ed]


                                   26
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 27 of 80



[Dr. Silver] what was going on with the Neurontin” and all

Dr. Silver said was that it was a discontinued medication. (Id.

at 46:7-47:8.)

     Dr. Silver ultimately reinstated Mr. Pine’s Neurontin

prescription after the MWAP policy was rescinded in February

2021. (Id. at 57:4-22.) Then, in 2022, Mr. Pine was transferred

from Green Haven to Great Meadows, and his Neurontin

prescription was again discontinued. (Id. at 57:23-58:18.) Mr.

Pine testified that during his initial consultation at Great

Meadows, he told his medical provider, Dr. Silverberg, that he

was prescribed Neurontin and asked Dr. Silverberg to review his

records so he would see that Mr. Pine had been prescribed

Neurontin in the past. (Id. at 49:16-24.) Mr. Pine testified

that he told Dr. Silverberg that his “leg pain was horrible

because of the neuropathy.” (Id. at 59:16-24.) Mr. Pine

testified credibly that Dr. Silverberg ignored him, said that

Mr. Pine was “not [t]here for that,” and when he pressed the

issue, Dr. Silverberg “threw [Mr. Pine] out of his office; he

didn’t want to hear it.” (Id. at 49:19-50:1.) Mr. Pine testified

that for the five months he was at Great Meadows, he was never

prescribed Neurontin. (Id. at 59:25-60:6.)

     In December 2022, Mr. Pine was transferred to Clinton,

where he is currently housed. (Id. at 47:10-16; 50:2-12.) After


                                   27
      Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 28 of 80



he arrived, when he went down to sick call once a month to

receive medication for his blood pressure, Mr. Pine said as an

aside that he wanted to see his medical provider regarding his

Neurontin prescription. (Id. at 47:13-48:1.) Mr. Pine testified

that his current medical provider, Nurse Devlin-Varin, re-

prescribed him Neurontin in January 2023. (Id. at 48:3-9.) Nurse

Devlin-Varin re-prescribed Mr. Pine Neurontin the first time Mr.

Pine requested it and has fulfilled two separate requests from

Mr. Pine in April and July 2023 to increase his dosage of

Neurontin. (Id. at 54:3-16.) Mr. Pine testified that the

Neurontin he receives now “absolutely” helps him. (Id. at 51:2-

8.)

      The Court found Mr. Pine to be a credible witness.

        ii.   Miguel Tirado

      Miguel Tirado entered DOCCS custody in or around April

2022. (Id. at 541:6-9.) Mr. Tirado testified he is diabetic and

experiences pins and needles in his feet. (Id. at 541:11-25.)

Mr. Tirado testified that he started feeling pins and needles in

his feet while he was free, and his outside doctor prescribed

him Neurontin. (Id. at 542:2-25.) Mr. Tirado testified he was

prescribed Neurontin for seven or eight years and it was

effective in treating the pins and needles he felt in his feet.

(Id. at 543:1-6.) Mr. Tirado testified that at the time of his


                                    28
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 29 of 80



arrest, before he entered DOCCS custody, he was still on

Neurontin and his Neurontin prescription was continued while he

was held at Rikers. (Id. at 543:24-544:15.) Mr. Tirado testified

that he did his DOCCS intake at Green Haven where the person

doing his intake told him that “they don’t give [Neurontin] here

in the state.” (Id. at 544:23-546:10.)

     After his intake at Green Haven, Mr. Tirado spent a month

at Elmira Correctional Facility (“Elmira”) where he was not

prescribed Neurontin. (Id. at 546:22-547:13.) Mr. Tirado

testified credibly that because his Neurontin prescription was

discontinued, he began to feel pins and needles in his feet

again and a numbness from his shins down. (Id. at 547:14-548:5.)

Mr. Tirado testified credibly that he told his medical providers

at Elmira about his pain but that they did not prescribe him any

medication to address the pins and needles in his feet. (Id. at

548:6-11.) Mr. Tirado testified he did not see any specialists

while he was at Elmira. (Id. at 548:12-15.)

     In or around April 2022, Mr. Tirado was then transferred

from Elmira to Marcy Correctional Facility (“Marcy”) where he

currently resides. (Id. at 548:19-549:3.) Mr. Tirado testified

that once he was at Marcy, he tried to explain to Nurse Theresa

Riley what had happened to his discontinued medications, and

Nurse Riley told him to file for sick call. (Id. 549:4-550:5.)


                                   29
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 30 of 80



Mr. Tirado testified credibly that the doctor he saw for sick

call told him that they did not give Neurontin there because it

was a narcotic. (Id. at 549:10-14; 550:13–19.) Mr. Tirado

testified credibly that he was told the same thing by Nurse

Riley when he asked her about his discontinued medication at the

medication window while he was getting his insulin. (Id. at

549:24-550:19.) Mr. Tirado testified credibly that he told both

the doctor and Nurse Riley about the pain, pins and needles, and

numbness he was feeling in his legs and that they both “brushed

[him] off” and told him that he could not get Neurontin there.

(Id. at 551:2-9.)

     Mr. Tirado testified that he refused to take his insulin

for a month when he first arrived at Marcy because Nurse Riley

was “terrorizing” him, trying to get him in trouble by telling

the prison officers to give him a disciplinary ticket. (Id. at

558:10-559:3; 571:2-13.) Mr. Tirado testified that because the

officers did not want to do the paperwork necessary to give him

a ticket, they would tell him to do menial tasks like picking up

cigarette butts from the floor. (Id. at 571:2-13.) Mr. Tirado

testified that he understood the risks of not taking his

insulin, including blindness, kidney failure, stroke, heart

attack, peripheral vascular disease, and infection, but that

none of these risks was explained to him. (Id. at 559:20-

560:19.) Mr. Tirado testified that he only refused to take his
                                   30
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 31 of 80



insulin in the mornings because that was when Nurse Riley was

working. (Id. at 560:25-562:5.) Mr. Tirado testified that he

also refused to take his labs but said he did not refuse to take

the finger stick test. (Id. at 562:6-24.) In January 2023,

Mr. Tirado was diagnosed with diabetic retinopathy, i.e., vessel

damage to his eyes, because he did not take his insulin. (Id. at

563:22-564:14.)

     Mr. Tirado testified that he first contacted Plaintiffs’

Counsel in early 2023 and was re-prescribed Neurontin on August

15th, 2023. (Id. at 552:1-9.) Mr. Tirado testified he was re-

prescribed Neurontin before his deposition in this case was

scheduled. (Id. at 552:17-553:13.) Mr. Tirado testified that the

Neurontin he now receives is helping him but that he believes he

needs a higher dose because he “still wake[s] up at night from

the pain.” (Id. at 553:14-23.) Mr. Tirado previously received

twelve hundred milligrams of Neurontin per day and is now

prescribed three hundred milligrams. (Id. at 553:24–554:3.)

Mr. Tirado testified that twice he refused to take his Neurontin

in the mornings because he was being mistreated by the officers

on duty in the mornings. (Id. at 564:15-565:20.) Mr. Tirado

testified he has no history of drug addiction, though he used

cocaine a “long time ago.” (Id. at 554:7-9; 556:21-557:6.)

     The Court found Mr. Tirado to be a credible witness.


                                   31
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 32 of 80



     E. DOCCS Patients Whose Medications Were Discontinued and
        Remain Without Effective Medication

      i. Eric Lindemann

     Eric Lindemann entered DOCCS custody in or around June of

2021. (Sept. 5 Tr. at 63:6-12; 66:18–21.) Mr. Lindemann suffers

from nerve pain in his lower back that shoots down his right leg

and “[c]onstant cramping and pain in the lower back” due to

several herniated discs. (Id. at 63:13-20.) Mr. Lindemann has

suffered from these conditions for over fifteen years following

two car accidents that damaged his lower back. (Id. at 63:21-

64:5.) After these car accidents, Mr. Lindemann’s outside

medical providers initially treated his pain with opioids. (Id.

at 64:9-16.) Mr. Lindemann later developed opioid-abuse

disorder, 13 and starting in 2018 or 2019, Mr. Lindemann’s doctors

were simultaneously prescribing him Suboxone 14 to treat his

opioid-abuse disorder and Neurontin to treat his pain with no



13Dr. Moores attempted to impeach Mr. Lindemann’s testimony by
reading a section of his deposition in which Mr. Lindemann
testified that his opioid-abuse disorder started while he was
incarcerated, not before he was incarcerated. (Sept. 5 Tr. at
84:18-22.) On cross, Mr. Lindemann explained that his deposition
testimony referred to the fact that he was diagnosed with
opioid-abuse disorder when he was incarcerated, and he had not
known what the disorder was called before then. (Id. at 85:4-6.)
The Court found Mr. Lindemann’s explanation persuasive and thus
adopts his hearing testimony.

14Suboxone is an “is an opioid class of medications that is
generally prescribed for people that have an opioid-abuse
disorder” in which buprenorphine is the main ingredient. It is
used to treat addiction and pain. (Sept. 6 Tr. at 364:7-365:16.)
                                   32
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 33 of 80



ill effects. (Id. at 64:17-65:19; 79:6-80:14.) Mr. Lindemann

testified that the Neurontin alleviated his pain by stopping the

“radiating pain that started in [his] lower back and went down

[his] right leg.” (Id. at 65:20-22.) Mr. Lindemann further

testified that his Neurontin prescription helped him to sleep

and sit more comfortably. (Id. at 65:24-66:1.)

     Before coming into DOCCS custody, Mr. Lindemann was

incarcerated for around nine months in two Suffolk County jails:

Yaphank Correctional Facility and Riverhead Correctional

Facility. (Id. at 66:18-67:5.) Mr. Lindemann testified that

while he was held in those county jails, the medical providers

there continued his Neurontin prescription that he had received

while he was free. (Id. at 67:6-14.) When Mr. Lindemann left the

Suffolk County facilities, he came into DOCCS custody at

Downstate. (Id. 67:15-19.) There, Mr. Lindemann’s medical

providers again continued his Neurontin prescription and

increased it when he complained of increased pain due to

sleeping on a steel bed at the prison. (Id. at 67:20-68:11.)

After a few months, Mr. Lindemann was transferred from Downstate

to Marcy. (Id. at 68:12-16.) Mr. Lindemann testified that at

Marcy, his medical provider, Dr. Zaki, also continued and

increased his Neurontin prescription so that Mr. Lindemann could

go to the medical window less frequently and attend more

programming. (Id. at 68:17-70:11.)
                                   33
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 34 of 80



     In December 2021, Mr. Lindemann was transferred to Fishkill

Correctional Facility (“Fishkill”). (Id. at 70:12-15.)

Mr. Lindemann testified credibly that during his intake on

December 12, 2021, he was told by Nurse Davis that he should not

“expect to be on medication too long.” (Id. at 70:16-20; 74:7–

9.) Mr. Lindemann testified that Nurse Davis told him that NP

Sullivan did not prescribe Neurontin. (Id. at 74:12-15.)

     Mr. Lindemann testified that after he went to the

medication window and they did not have any prescriptions for

him, he filed for sick call to speak to his provider,

NP Sullivan. (Id. at 75:10-15.) Mr. Lindemann testified credibly

that NP Sullivan told him she does not prescribe Neurontin and

she would not prescribe him Neurontin. (Id. at 75:14-19.)

Mr. Lindemann testified that he later learned that NP Sullivan

does prescribe Neurontin to other patients. (Id. at 95:18-97:1.)

Mr. Lindemann testified credibly that he made NP Sullivan aware

of the nerve damage he had and the pain he was experiencing, as

well as his treatment by Dr. Zaki. (Id. at 75:20-76:1.) Mr.

Lindemann testified that he is not currently being prescribed

Neurontin. (Id. at 76:8-9.)

     Mr. Lindemann testified that since being taken off the

Neurontin, he has developed a limp in his right leg, and he now

suffers from shooting pains down his right leg. (Id. at 76:2-6.)


                                   34
      Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 35 of 80



Mr. Lindemann testified that without his Neurontin prescription,

getting out of bed, moving around, walking, climbing stairs, and

exercising are all difficult. (Id. at 76:10-16.) Mr. Lindemann

testified credibly that he has talked to NP Sullivan about his

difficulties “numerous times,” that he had been “going down

there on a weekly basis to complain and request to be put back

on [Neurontin],” but “was constantly denied.” (Id. at 76:17-

23.) 15

      Mr. Lindemann testified that he is currently in the MAT

program to treat his opioid-abuse disorder. (Id. at 79:4-10.)

Mr. Lindemann testified that the MAT program is not meant to

treat his chronic pain or neuropathies. (Id. at 79:11-14.)

Mr. Lindemann testified that he currently receives Suboxone

through the MAT program. (Id. at 79:18-80:5.) Mr. Lindemann

testified that he also receives Zyprexa and Trazodone to treat

depression. (Id. at 86:16-23; 90:1-19.) Mr. Lindemann testified

that he received meloxicam to treat his pain, which was

discontinued, and Buspirone, which he said was for “something



15Dr. Moores’ Counsel made several assertions of fact on cross
regarding NP Sullivan’s reasons for discontinuing Mr.
Lindemann’s Neurontin prescription and Mr. Lindemann’s attitude
towards trying alternatives to Neurontin, all of which Mr.
Lindemann denied. (Sept. 5 Tr. at 88:10-89:8.) Because Dr.
Moores failed to offer any evidence to corroborate these
assertions of fact, including either testimony by NP Sullivan or
medical records regarding Mr. Lindemann’s treatment, the Court
will disregard her Counsel’s assertions of fact.
                                    35
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 36 of 80



completely different.” (Id. at 93:2-19.)        Mr. Lindemann also

testified that he tried taking Cymbalta for six weeks but that

he experienced “very bad side effects” including anxiety and

depression. (Id. at 89:9-90:7.) Mr. Lindemann testified that he

has also received topical analgesic balms, access to a TENS unit

that did not work, and acetaminophen. (Id. at 93:20-94:17.)

Mr. Lindemann testified that NP Sullivan told him she was not

going to prescribe him Lyrica. (Id. at 97:2-8.) Mr. Lindemann

testified that NP Sullivan said before receiving Lyrica, he

needed to do physical therapy, but that he had not yet received

access to physical therapy. (Id. at 97:9-11.) Mr. Lindemann

testified that any refusal forms in his medical records

regarding physical therapy were for his shoulder, not his lower

back or nerve damage. (Id. at 97:12-25.)

     In general, Mr. Lindemann described the pain treatments he

has received from NP Sullivan as “trial and error, when she

discontinued something that was working.” (Id. at 95:9-12.)

Mr. Lindemann testified that NP Sullivan has never physically

examined him, conducted a chronic pain assessment for him, or

sent him out to a pain management specialist. (Id. at 98:23-

99:15.) Mr. Lindemann testified that he still wants to receive

Neurontin to alleviate the nerve damage and pain he experiences.

(Id. at 87:6-11.)



                                   36
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 37 of 80



     The Court found Mr. Lindemann to be a credible witness.

       ii.   Richard Vasquez

     During a prior bid with DOCCS in 2017, Richard Vasquez was

housed in Franklin Correctional Facility (“Franklin”) where he

underwent a replacement surgery in his left hip. (Sept. 5 Tr. at

129:18-25.) At the time of the hip replacement, he was

prescribed Neurontin, which he said effectively treated his

pain. (Id. at 130:1-7.) Mr. Vasquez testified that he received

Neurontin continuously during that bid until his release in late

2017 or early 2018 and his Neurontin prescription was continued

by his outside doctor after his release. (Id. at 130:8-131:3.)

     Mr. Vasquez began his current bid in DOCCS custody in

January 2020. (Id. at 128:12-16.) Prior to that, he was held at

the Albany County jail, where his medical providers continued

his Neurontin prescription. (Id. at 128:17-21; 131:17-22.) At

the time of his DOCCS intake, he suffered from chronic pain in

his lower lumbar area, both hips, and his left foot. (Id. at

128:22-129:2.) Mr. Vasquez did his DOCCS intake at Downstate,

where his medical providers continued his Neurontin prescription

for the short time he was there. (Id. at 131:23-132:10.) He was

quickly transferred to Marcy, where his Neurontin prescription

was discontinued. (Id. at 132:11–19.)




                                   37
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 38 of 80



     Mr. Vasquez testified that he met with his medical provider

at Marcy, Dr. Burke, several months after he arrived at Marcy.

(Id. at 133:10-16.) Mr. Vasquez testified that he had written

complaining about his back, hip, and leg, so they called him in

to see Dr. Burke. (Id. at 133:10-134:9.) Mr. Vasquez testified

credibly that he found out his Neurontin prescription was

discontinued when he met with Dr. Burke, who told him that they

did not give out Neurontin at Marcy. (Id. at 132:20-133:5;

134:4-8.) Mr. Vasquez testified that instead, Dr. Burke put him

on Tylenol, which Mr. Vasquez asserted he could not use because

it was having bad side effects on his stomach and Tylenol was

not supposed to be for long-term use. (Id. at 134:8-16.) Mr.

Vasquez testified that Dr. Burke also prescribed him a muscle

relaxer to treat his pain, but that the muscle relaxer did not

work because his pain was related to his nerves. (Id. at 134:17-

23.) In 2020, while Mr. Vasquez was at Marcy, he was sent out to

see a pain specialist. (Id. at 150:8-12.) The specialist

recommended he be put on baclofen and Cymbalta to treat his

pain. (Id. at 150:13-154:8.)

     Mr. Vasquez was eventually transferred from Marcy to the

Walsh Regional Medical Unit (“Walsh RMU”) at Mohawk Correctional

Facility (“Mohawk”) for a total hip replacement on his right

hip. (Id. at 136:14-137:6.) While at the Walsh RMU, Mr. Vasquez

was prescribed Neurontin for a week, which he testified was
                                   38
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 39 of 80



effective in treating his pain. (Id. at 137:7-12.) Mr. Vasquez

testified that the hip replacement did not resolve his chronic

pain. (Id. at 137:20-23.) Mr. Vasquez testified that his

physical therapist recommended he do physical therapy to help

his pain and that he refused to do the physical therapy due to

the pain in his lower back. (Id. at 154:21-156:6.)

     Next, in February or March of 2022, Mr. Vasquez was

transferred to Midstate Correctional Facility (“Midstate”) where

he spoke to NP Amy Ferguson about his pain. (Id. at 138:13-20;

165:4-12.) Mr. Vasquez testified credibly that NP Ferguson was

aware of his chronic pain problems and that she said she could

not give him Neurontin because they were not allowed to give it

out. (Id. at 139:8-24.) Mr. Vasquez testified that NP Ferguson

requested that he get a self-carry medication rather than

Neurontin, which had to be administered at the medication

window, because Mr. Vasquez had “just c[o]me out of surgery” and

having a self-carry medication would keep him from having to

traverse the stairs and hills of the prison. (Id. at 166:1-11.)

     In addition to the pain stemming from the conditions

already discussed, in January 2023, a mentally ill prisoner

poured several gallons of scalding water on Mr. Vasquez while he

was sleeping. (Id. at 141:21-142:3; 167:7-13.) Mr. Vasquez

testified that he spent two days at a Syracuse hospital where he


                                   39
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 40 of 80



was diagnosed with second degree burns. (Id. at 142:12-13;

143:9-15.) Mr. Vasquez testified that because of these burns, he

now has nerve pain all around his upper body, describing the

pain as “needles just sticking [him] everywhere.” (Id. at

142:20-22.) Mr. Vasquez testified that when he returned to

Midstate after his hospital visit, he was prescribed Neurontin

and Percocet for three or four days before they were

discontinued. (Id. at 143:16-144:7.)

     Mr. Vasquez testified that in May 2023, NP Schrader

prescribed him baclofen, but that baclofen did not work for him

because it is used to treat muscle spasms and he does not have

spasms. (Id. at 140:4-10; 145:21-146:2.) Mr. Vasquez testified

credibly that he told NP Schrader that he has used baclofen in

the past and that it does not work, but she gave it to him

anyway and he has been taking it to no effect. (Id. at 140:9-14;

146:13-21.) While Mr. Vasquez testified at his deposition that

NP Schrader was “fishing, [he] believe[d], for a medication that

might help,” he responded at the hearing: “She didn’t have to

fish. I told her I know exactly what works. Why fish?” (Id. at

147:10-148:25.)

     Mr. Vasquez testified that he hadn’t seen NP Schrader since

she prescribed the baclofen in May 2023 and that though she said

at that visit that she would send him out for an MRI, he only


                                   40
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 41 of 80



received the MRI one week before the trial in the beginning of

September. (Id. at 140:15-21.) Mr. Vasquez testified that since

he received the MRI, he has not received a response from his

provider at Midstate. (Id. at 141:4-9.) Mr. Vasquez testified

that in addition to the baclofen he currently receives, he also

receives ibuprofen and Tylenol. (Id. at 156:11-23.) Mr. Vasquez

testified he also tried Tegretol 16 for a few weeks until he

started having adverse side effects and then requested that the

prescription be discontinued. (Id. at 156:24-160:6.)

     The Court observed Mr. Vasquez shift in his chair

repeatedly while testifying. Mr. Vasquez testified that he

shifted because when he sat for that long, his body felt numb,

he would experience radiating pain down his leg and up his

spine, and he might lose control of his bladder or his bowels.

(Id. at 137:24-138:8.) Mr. Vasquez testified that he was in pain

even as he testified. (Id. at 167:18-19.)

     The Court found Mr. Vasquez to be a credible witness.

      iii.   Rafael Montanez

     Rafael Montanez came into DOCCS custody on his current bid

in 2011. (Id. at 168:19-21.) At that time, he had an impinged



16Tegretol (generic name carbamazepine) is an anticonvulsant
that is used to treat pain and nerve pain. (Sept. 6 Tr. at
363:17-364:3.) Any references in the record to carbamazepine
will be changed to Tegretol for the purposes of this opinion.
                                   41
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 42 of 80



nerve in his lower back, a mild case of stenosis, and

degeneration in his L1 and L2 discs, all of which caused him

pain. (Id. at 169:7-18.) Mr. Montanez testified that his pinched

nerve felt like something was “pressing on [his] back.” (Id. at

169:19-23.) Mr. Montanez testified that there are times that he

could not get out of bed because it hurt too much and he was in

so much pain that he could not even walk straight. (Id. at

173:14-18.) Mr. Montanez testified credibly that because of his

pain, he does not go anywhere in the prison and gave up on

exercising. (Id. at 186:3-11.) Mr. Montanez testified that

because of his pain, he could not play sports like he could

before and that he is unable to do certain jobs. (Id. at 169:24-

170:2.)

     Mr. Montanez testified that his pain was effectively

treated while he was at Rikers before coming into DOCCS custody.

(Id. at 170:3-11.) Mr. Montanez testified that at Rikers, he

received Ultram 17 and Neurontin. (Id. at 170:12-16.) When

Mr. Montanez first entered DOCCS custody, he was housed in three

different facilities: Downstate, Sing Sing, and Five Points

Correctional Facility (“Five Points”). (Id. at 170:20-171:18.)




17Ultram (generic name tramadol) is a medication frequently used
to treat severe pain. (See Sept. 6 Tr. at 362:24-363:2; Sept. 7
Tr. at 579:13-18.) Any references in the record to tramadol will
be changed to Ultram for the purposes of this opinion.
                                   42
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 43 of 80



Mr. Montanez testified that at Downstate and Sing Sing, his

prescriptions for Ultram and Neurontin were continued. (Id.)

     Mr. Montanez testified that while he was at Five Points in

2013, his prescriptions were discontinued, and his medical

providers started to wean him off his medications. (Id. at

171:19-172:4; 177:24-178:4.) Mr. Montanez testified credibly

that since 2017, he had complained to medical staff in DOCCS

facilities about his chronic pain more than fifty times. (Id. at

174:23-175:5.) Mr. Montanez testified credibly that he is not

currently receiving effective treatment for his chronic pain.

(Id. at 176:15-17.)

     Mr. Montanez testified that he was part of the MAT program

and he received buprenorphine to treat his addiction issues.

(Id. at 176:18-177:9.) Mr. Montanez has a history of heroin

abuse. (Id. 182:15-21.) There was an incident in 2021 in which

Mr. Montanez lost consciousness and was revived with Narcan.

(Id. at 182:22-183:4.) Mr. Montanez testified that he did not

overdose on drugs during his current bid with DOCCS. He

testified that the cause of his losing consciousness was

dehydration. (Id. at 183:5-21.) Mr. Montanez testified that the

buprenorphine he receives through the MAT program does not

address his chronic pain or his impinged nerve. (Id. at 176:23-

177:7.) Mr. Montanez testified that he has received Tylenol,


                                   43
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 44 of 80



naproxen, omeprazole, ibuprofen, a TENS unit, a back brace, and

had been told to do back exercises to relieve his back pain.

(Id. 178:5-182:7.) Mr. Montanez testified credibly that he still

suffers from chronic pain. (Id. at 185:23-186:2.)

     With the exception of his testimony about the 2021 Narcan

incident, the Court found Mr. Montanez to be a credible witness.

       iv.   Ramal Myriee

     Ramal Myriee suffers from diabetic neuropathy and

degenerative disc disease. (Sept. 5 Tr. at 188:8-11.) He was

first diagnosed with diabetes in 2008 while he was incarcerated

at Rikers. (Id. at 188:12-22.) While at Rikers, Mr. Myriee began

receiving 800 milligrams of Neurontin three times a day to treat

his nerve pain. (Id. at 190:3-8.) Mr. Myriee testified credibly

that his nerve pain is “severe” and makes it hard for him to

walk, adding that his legs and feet are constantly swollen. (Id.

at 190:13-18.) Mr. Myriee also testified that his pain makes it

“unbearable” for him to sleep. (Id. at 195:10-13.) Mr. Myriee

testified that his “feet and legs are falling apart rapidly.”

(Id. at 205:5-6.)

     Mr. Myriee testified credibly that his Neurontin

prescription alleviated a lot of his pain and allowed him to do

things like walk and play with his kids. (Id. at 190:21-191:3.)

Mr. Myriee testified that he received Neurontin continuously

                                   44
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 45 of 80



through his prior bid with DOCCS from 2010 to 2013 despite

transferring facilities multiple times. (Id. at 191:11-193:6.)

After his release, Mr. Myriee’s outside doctor prescribed him

aspirin, Percocet, Flexeril, and insulin in addition to

continuing his Neurontin prescription. (Id. at 193:7-194:11.)

     Mr. Myriee’s current DOCCS bid started in May 2022. (Id. at

199:22-200:2.) Before entering DOCCS custody, Mr. Myriee was

held at the Nassau County jail where he was prescribed

Neurontin, Percocet, aspirin, trazodone, and Cymbalta. (Id. at

197:20-198:4; 216:19-23.) Mr. Myriee testified that his medical

providers in Nassau County tried him on Lyrica rather than

Neurontin for a few weeks because the pain he was experiencing

was so unbearable that he asked to have his feet amputated. (Id.

at 198:8-23.) Mr. Myriee testified that he was switched back to

Neurontin because he had an adverse reaction to Lyrica that

featured nausea, vomiting, sweating, and chills. (Id. at 198:24-

199:12.) His providers at Nassau County ended up increasing his

dosage of Neurontin, which helped his pain. (Id. at 199:14-18.)

     Mr. Myriee did his DOCCS reception at Ulster Correctional

Facility (“Ulster”) before he was transferred to Woodbourne,

where he is currently housed. (Id. at 199:22-201:1.) He spent a

week at Ulster where he received Neurontin, Ultram, Cymbalta,

aspirin, and insulin. (Id. at 200:3-8.) Mr. Myriee testified


                                   45
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 46 of 80



that he did not discuss his medications with any medical

provider at Ulster and that they kept him on his medication

because it was what he had been prescribed at Nassau County.

(Id. at 200:9-17.)

     Mr. Myriee testified that his medication was discontinued

upon his transfer to Woodbourne. (Id. at 201:11-13.) He

testified credibly that he learned it was discontinued when he

went to the medication window and the staff there told him that

the doctor took him off his medication because they do not give

Neurontin out in Woodbourne. (Id. at 201:17-23.) Mr. Myriee

testified he had not spoken with any of his medical providers

before they decided to take him off Neurontin. (Id. at 202:8-

15.) Mr. Myriee testified that a few weeks after his Neurontin

prescription was discontinued, he met with PA Switz after

writing sick calls every day “complaining about the pain [he]

was going through.” (Id. at 202:25-203:19.) Mr. Myriee testified

he explained to PA Switz that he had diabetic neuropathy and

that he had been using Neurontin for over twelve years. (Id. at

204:3-8.) Mr. Myriee testified credibly that he expressed to PA

Switz that he was in severe pain, that he could barely walk, and

that he needed his medication back, and she responded that they

did not give out Neurontin in Woodbourne and that the medical

staff knew what was best for him. (Id. at 203:20-24.) Mr. Myriee

testified that this meeting with PA Switz lasted no more than
                                   46
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 47 of 80



five minutes and did not include a physical examination or any

discussion of Neurontin alternatives. (Id. at 204:9-16.)

     Mr. Myriee testified credibly that he has also met with Dr.

Ruiz, explained his pain to her, and tried to show her how bad

his legs were, and she responded that she knew what was good for

him and that he did not need Neurontin. (Id. at 205:12-206:1.)

Mr. Myriee testified that Dr. Ruiz had never physically examined

him during their meetings. (Id. at 206:5-7.) Mr. Myriee

testified his feet were turning black and his toenails were

falling off and that Dr. Ruiz and PA Switz had not provided any

treatment regarding these conditions other than a visit to a

vascular specialist, who told Mr. Myriee that his veins were not

the source of his symptoms. (Id. at 206:8-207:3.) Mr. Myriee

testified he had not been sent to a pain management specialist.

(Id. at 204:17-22.)

     Mr. Myriee testified that he was in the MAT program due to

his history with heroin addiction. (Id. at 207:4-9.) Mr. Myriee

testified that he was first prescribed Suboxone in 2018 or 2019

while he was free. (Id. at 207:21-208:5.) During that time, his

outside medical providers continued his Neurontin prescription

and discontinued his Percocet prescription. (Id. at 208:6-23.)

Mr. Myriee testified that in April or May 2023 he switched from

taking buprenorphine to receiving Sublocade shots. (Id. at


                                   47
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 48 of 80



214:22-215:12.) Mr. Myriee testified that he missed one of his

Sublocade shots and that he refused a MAT treatment because the

prison officers were treating him like an animal. (Id. at

214:22-215:23.)

     Mr. Myriee testified that his provider prescribed daily

finger stick tests to test his blood sugar and that he might

have missed a handful of tests because of how much pain he was

in but that his test numbers were “always excellent.” (Id. at

210:22-211:11.) Mr. Myriee testified that there were several

times he did not show for his insulin treatment because he was

in too much pain to sit and wait for the treatment. (Id. at

211:15-21.)

     Mr. Myriee testified that he was currently taking Cymbalta,

which he started taking at the Nassau County jail in 2022. (Id.

at 216:8-18.) Mr. Myriee testified that his prescription for

Cymbalta came about because, after Dr. Ruiz discontinued his

Cymbalta prescription, his mental health provider noted that

Mr. Myriee looked like he was in a lot of pain and prescribed

Mr. Myriee the Cymbalta. (Id. at 217:19-219:8.) Mr. Myriee

testified that he entered Woodbourne towards the end of May

2022, and he was put back on Cymbalta in June 2022. (Id. at

219:9-14.) Mr. Myriee testified that Cymbalta “[s]lightly”

relieved his pain and said that it was “better than nothing.”


                                   48
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 49 of 80



(Id. at 219:15-17.) Mr. Myriee noted that he also received

Percocet at Nassau County jail and he testified that he was not

concerned about taking Percocet for his pain, despite its being

an opioid, because he “just wanted [his] pain to go away.” (Id.

at 216:24-217:18.)

     The Court found Mr. Myriee to be a credible witness.

        v.    Anthony Jackson

     Anthony Jackson came into DOCCS custody in 1991. (Sept. 7

Tr. at 581:6-12.) Mr. Jackson testified that the last time he

used illicit drugs was 2005 and that he had previously used

heroin for twenty-six years. (Id. at 581:19-24; 601:19-25.)

Mr. Jackson testified that his current provider, NP Kacchapilly,

suggested that he fill out the evaluation for the MAT program

despite his never having requested that he be evaluated for the

MAT program. (Id. at 603:3-604:7.) Mr. Jackson testified that he

did not say in the evaluation that he wanted to enroll in the

MAT program so he could “feel good” because he did not get high

anymore and was “on the straight and narrow.” (Id. at 604:8-20.)

Mr. Jackson was not admitted into the MAT program. (Id. at

606:22-25.)

     Mr. Jackson testified credibly that he has chronic back

problems, that he is always in pain, and that he cannot walk

long distances or stand for significant lengths of time. (Id. at

                                   49
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 50 of 80



583:17-22.) Mr. Jackson testified that he is “almost bedridden”

and that he cannot “do what other people do” when it comes to

physical activity. (Id. at 584:18-585:2.) Mr. Jackson testified

that his chronic pain had worsened significantly by 2012 and

that at Sullivan, NP Diaz prescribed him eight hundred

milligrams of Neurontin and twenty milligrams of Elavil, which

he testified effectively treated his pain. (Id. at 585:3-13.)

Mr. Jackson testified credibly that the Neurontin prescription

allowed him to do “almost everything as a normal inmate.” (Id.

at 585:14-586:7.) Mr. Jackson testified he never diverted his

Neurontin or had a misbehavior report filed against him due to

illicit drug use. (Id. at 586:8-17.)

     Mr. Jackson testified that in February 2015 or 2016, his

Neurontin prescription was discontinued. (Id. at 586:18-587:24.)

Mr. Jackson testified credibly that he found out the

prescription was discontinued when he reported to the medication

window and he was pulled aside by the nurse on duty, Nurse

Darby, who told him that that his Neurontin prescription would

be discontinued, and “nobody[]” would get Neurontin anymore.

(Id. at 586:18-588:4.) Mr. Jackson testified credibly that when

his Neurontin was discontinued, he was back in pain again,

limited in where he could go and what he could do. (Id. at

588:9-18.) Mr. Jackson testified that Dr. Sidorowicz prescribed

him ibuprofen and aspirin and NP Diaz prescribed him Flexeril as
                                   50
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 51 of 80



alternatives to Neurontin but that these medications did not

work for him. (Id. at 588:19-25.) Mr. Jackson testified that

when he complained a lot, his providers re-prescribed him

Elavil, but that it did not work without the Neurontin, so they

gave him naproxen “every once in a while.” (Id. at 589:1-11.)

     Mr. Jackson testified that he was transferred to Sing Sing

around 2020. (Id. at 589:19-21.) Mr. Jackson testified that his

provider at Sing Sing is NP Kacchapilly. (Id. at 589:22-590:13.)

Mr. Jackson testified credibly that NP Kacchapilly had not

prescribed him anything that effectively treated his pain. (Id.

at 590:14-591:21.) Mr. Jackson testified that NP Kacchapilly had

prescribed him Cymbalta around a year and a half ago and had

given him a one-time dose of naproxen in the prior month and a

half but that the Cymbalta prescription had not helped to treat

his pain. (Id. at 590:19-591:1; 600:11-14.) Mr. Jackson

testified credibly that he told NP Kacchapilly that the Cymbalta

was not helping his pain but she did not change his treatment.

(Id. at 591:2-7.) Mr. Jackson said of the Cymbalta “something is

better than nothing, but that’s almost like nothing at all.”

(Id. at 600:24-601:11.)

     Mr. Jackson testified that he saw a pain specialist in 2021

or 2022, received a cortisone shot in 2021, and requested a

second cortisone shot, which he received. (Id. at 597:5-598:6.)


                                   51
       Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 52 of 80



Mr. Jackson testified that he was never offered a third

cortisone shot. (Id. at 607:9-10.) Mr. Jackson testified that he

was given a cane within the last year and a half. (Id. at

591:22-592:7.) Mr. Jackson testified that without his cane, he

would be unable to walk straight and would fall. (Id. at 592:8-

12.)

       The Court found Mr. Jackson to be a credible witness.

       F. Dr. Moores’ Testimony

        i. DOCCS’ Current Policies and Procedures

       The only witness Dr. Moores called at trial was Dr. Moores

herself. Dr. Moores testified that DOCCS is twenty percent under

the level of medical providers and thirty-three percent under

the level of nurses it should have based on DOCCS’ base-level

guidelines. (Sept. 7 Tr. at 576:24-577:8.) Dr. Moores testified

there was also a lot of turnover in DOCCS’ medical positions.

(Id. at 577:12-18.) Dr. Moores testified that she signs off on

hiring a few new medical providers each month. (Id. at 577:19-

25.) Dr. Moores testified that there were facilities that were

operating with only one medical provider. (Id. at 578:2-6.)

       Regarding the medications formerly covered by the MWAP

policy, Dr. Moores testified that there are two types of

policies that currently apply to these medications. The first

set of policies relates to making sure that DOCCS complies with


                                     52
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 53 of 80



regulations for how these medications are handled. (Id. at

579:19-580:3.) The second is the nonformulary request process,

which only applies if the medication is not listed on DOCCS’

formulary and, thus, not readily available to the provider. (Id.

at 608:13-609:3.) Dr. Moores testified that if a medication is

not on DOCCS’ formulary, providers can still request it, but

they have to go through the request process. (Id.) Dr. Moores

testified that nonformulary request and specialty care referral

denials continue to be audited, but Dr. Moores and her deputy,

Dr Khan, reviewed most of those requests and “[a]lmost all” all

of them were approved. (Id. at 613:6-11.) Dr. Moores testified

that the requests that were not reviewed by her or Dr. Khan were

typically reviewed by the Facility Health Services Director

(“FHSD”) in charge of the facility where the request originated

and Dr. Moores still sees those requests and the results of the

FHSD’s review. (Id. at 614:6-18.)

     Dr. Moores testified that since the MWAP policy was

rescinded, there has not been any policy implemented imposing a

limitation on a DOCCS medical provider’s ability to prescribe

Ultram, Lyrica, Cymbalta, or Neurontin. (Id. at 610:6-611:13.)

Dr. Moores testified that as far as she was aware, medical

providers in all of DOCCS’ prisons were prescribing each of

those medications. (Id.) Dr. Moores testified that she has not

seen any evidence of a DOCCS facility creating its own policy
                                   53
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 54 of 80



regarding the former MWAP medications, though Dr. Moores had not

contacted all the each FSHDs and asked them if they had any

facility-specific procedures. (Id. at 611:14-18; 638:24-639:15;

640:8-18.) Dr. Moores testified that the RMDs currently do not

have any oversight over a PCP’s ability to prescribe medications

and that PCPs were exercising their judgment in how they cared

for their patients. (Id. at 612:22-613:5.)

     Dr. Moores described a peer review process in which the

administrator doing the review, whether that administrator was

an RMD, an FHSD, or Dr. Moores, pulled ten charts at random from

a provider’s set to review and comment on. (Id. at 614:25-

615:12.) The peer review system was implemented in response to

licensure requirements and the American Correctional Associate

accreditation process. (Id. at 615:13-17.) Dr. Moores testified

that if the peer review process identified an issue with a

provider’s standard of care, that would be brought to her

attention, and it would culminate in either an educational

approach with additional monitoring of the provider’s work or a

disciplinary action, depending on whether the provider was open

to the education and monitoring. (Id. at 616:2-25.) Dr. Moores

testified that in addition to the peer review process, issues

regarding a provider’s standard of care might also be brought to

her attention through patient letters, contact with a member of

the facility’s executive team or another member of the
                                   54
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 55 of 80



provider’s medical staff, SURN audits, 18 or Dr. Moores’ reviewing

records herself for other reasons. (Id. at 617:13-23.)

     Dr. Moores testified that she went to Woodbourne to conduct

an investigation in May 2023. (Id. 619:18-23.) Dr. Moores

discussed an incident with Dr. Ruiz where she found that

Dr. Ruiz was not following the policies, was discontinuing

medications as soon as a patient was transferred into the

facility and was forcing the PAs to do the same thing. (Id. at

618:20-619:7.) Dr. Moores testified that she counseled Dr. Ruiz,

educated the superintendent of Woodbourne, removed Dr. Ruiz’s

title of FHSD, and warned Dr. Ruiz that she had to be compliant

with DOCCS’ policy or face termination. (Id. at 619:7-13.)

Dr. Moores testified that she learned of Dr. Ruiz’s actions in

part from Plaintiffs’ Counsel. (Id. at 640:19-643:2.)

     Dr. Moores explained that the procedure regarding patient

transfers between facilities called for the patient’s medical

record and any medications dispensed directly to the patient to

follow the patient to his or her new facility. (Id. at 619:24-

620:5.) Dr. Moores said DOCCS also encouraged the nursing staff

at the sending and receiving facilities to discuss if there was



18A senior utilization review nurse (“SURN”) is a nurse at a
DOCCS facility who may review the amount of a particular
prescriptions issued at a facility. (See Sept. 6 Tr. 399:22-
400:3; 409:3-6; 410:1-8.)
                                   55
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 56 of 80



something special about a patient, especially if the new

facility would need to order medication ahead of time. (Id. at

620:5-9.) Dr. Moores called the transfer process “cumbersome”

and said DOCCS was “still trying to fix that and figure it out.”

(Id. at 620:17-23.) Dr. Moores testified that she did not have

any policy in place that guaranteed that DOCCS facilities other

than Woodbourne were continuing patients’ medications upon

transfer. (Id. at 658:15-21.) However, she testified that the

new central office pharmacist would be collecting information on

medication transfers because she felt that some facilities did

it well and other facilities did not, and DOCCS needed to

address those issues “in a very objective manner.” (Id. at

658:21-659:2.)

     Dr. Moores also discussed a violation by Dr. Kim at Green

Haven in which Dr. Kim violated DOCCS’ policy by refusing to

refill a pain medication without meeting the patient and having

a documented reason to discontinue the medication. (Id. at

621:15-622:9.) Dr. Moores felt that Dr. Kim needed to be

disciplined for his violation of DOCCS’ policy and the

superintendent agreed. (Id. at 622:14-16.) Dr. Moores testified

that the information about the incident with Dr. Kim came from

Plaintiffs’ Counsel. (Id. at 643:16-18.) Other than these

incidents, Dr. Moores testified that she had seen more general

issues with DOCCS’ communication, but she said she has not seen
                                   56
       Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 57 of 80



“any intent to stop the medication on purpose.” (Id. at 622:18-

623:1.)

       Dr. Moores testified that the risk associated with

patients’ diverting their medication would be that: 1) a patient

might stockpile it to get a high or attempt suicide; 2) a

patient might sell it on his or her housing block; or 3) a

patient might be threatened by another prisoner to give the

prisoner the medication. (Id. at 623:16-624:1.) Dr. Moores said

she did not have data on how often any specific drug is

diverted, but she testified that “diversion is a regular problem

with almost all the facilities” and that Neurontin, opioids, and

muscle relaxants tend to be “preferred drugs.” (Id. at 624:2-

12.)

         ii.   Challenges with the Preliminary Injunction

       Dr. Moores described several challenges with the

preliminary injunction order entered by the Court in March 2023.

Regarding the preliminary injunction provision that DOCCS

identify all the patients who might need the chronic pain code

338 added to their medical problem lists, Dr. Moores testified

that she had eight central office staff members working on it

and had gotten about one third of the way through reviewing the

medical problem lists of all thirty-two thousand DOCCS patients.

(Id. at 624:17-625:25.) Dr. Moores testified that before the


                                     57
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 58 of 80



review, eight hundred or nine hundred patients had been coded

338, and after the review was one third completed, the number of

patients coded 338 had increased to twenty-five hundred

patients. (Id. at 626:18-627:15.) Dr. Moores testified that they

had slowed the process of trying to identify patients that

needed to be coded with 338 because Dr. Moores received feedback

from patients and providers that the 338 code they were applying

in DOCCS central office did not make sense for the patient. (Id.

at 627:16-25.) Dr. Moores testified that she had not

“completely” figured out the patient identification process.

(Id. at 627:25-628:6.)

     Dr. Moores testified that she had also slowed the patient

identification process because DOCCS had to focus on complying

with the piece of the preliminary injunction that ordered DOCCS

to schedule pain assessments for its chronic pain patients. (Id.

at 628:16-21.) Dr. Moores took steps coordinating with DOCCS’

ITS department to make sure that her office could audit that the

assessments were scheduled and occurring. (Id. at 628:22-

629:25.) She also created two new forms for providers to fill

out: one for the annual assessment and another for the quarterly

assessment. (Id. at 630:1-16.) Then, Dr. Moores sent out two

memos. The first went to DOCCS’ superintendents to make sure all

the health care staff received a hard copy of the Court’s

preliminary injunction order. (Id. at 631:14-17.) The second
                                   58
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 59 of 80



memo included instructions, the new forms, and a summary form

for the providers. (Id. at 631:17-25.)

     Dr. Moores testified that there was not a place on the

annual assessment form where a provider would know or note that

a patient lost effective medication during the MWAP period. (Id.

at 648:17-24.) Dr. Moores testified that she had been in the

process of gathering and reviewing the medical records for

patients still in DOCCS custody who lost medications during the

MWAP period when the preliminary injunction order came out and

she had to stop that process to focus on the work required by

the order. (Id. at 648:25-649:16.) Dr. Moores testified that the

annual assessment form was not intended to be used solely for

patients who formerly had medication discontinued under MWAP and

that the form had a place for the provider to record treatments

or medications that the patient had previously tried. (Id. at

661:15-24.)

     Dr. Moores testified that she had only received a few

responses to the new assessments. (Id. 632:17-19.) Dr. Moores

testified that: 1) some patients had told nursing staff that

they did not have a pain problem and should not be subject to

the assessment; 2) several providers have written that there was

no change to their plan because they were “already seeing the

patient”; 3) some patients told their providers that they were


                                   59
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 60 of 80



already talking about their pain issues and did not understand

why the assessment was necessary. (Id. at 632:19-633:12.)

Dr. Moores testified that there was concern among DOCCS

providers that the additional appointment may have added to

their workload without producing a positive effect. (Id. at

633:19-634:4.) Dr. Moores agreed with that sentiment because she

felt that competent DOCCS medical providers did not need the

additional assessment to adequately treat their patients and

incompetent providers are not helped by the assessments. (Id. at

634:5-20.) Dr. Moores testified that the workload concern was

pertinent given DOCCS’ shortage of healthcare staff, which could

mean that these additional assessments were delaying care for

other patient needs. (Id. at 635:5-22.)

     Dr. Moores testified that, in some cases, it was possible

to move patients with chronic pain conditions who need a

heightened level of care to competent providers who can meet

their needs. (Id. at 655:17-656:18.) Dr. Moores also testified

she was trying to “beef up” DOCCS’ “ring of competent

physicians” who could teach other providers who were deficient

in pain management because frequently, what providers with a

deficiency really needed was “a mentor and a model.” (Id. at

657:3-22.)




                                   60
       Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 61 of 80



       Dr. Moores testified that DOCCS trained its providers on

 the requirements of Policy 1.24A. (Id. at 657:23-658:10.)

 Dr. Moores testified that they did a training at every facility

 and that they did “train-the-trainer” instructions so that each

 facility had individuals who could train those who were not

 present for the original training. (Id.) Dr. Moores testified

 that the nurse education unit is keeping track of which DOCCS

 providers have received the Policy 1.24A training. (Id. at

 658:11-14.)

       The Court found the testimony of Dr. Moores related above,

 as far as it goes, to be credible.

III.   Legal Standard
       A. Standing

       “At all stages of litigation, ‘the party invoking federal

 jurisdiction bears the burden of establishing the elements of

 Article III standing.’” Calcano v. Swarovski N. Am. Ltd., 36

 F.4th 68, 74 (2d Cir. 2022) (quoting Carter v. HealthPort

 Techs., LLC, 822 F.3d 47, 56 (2d Cir. 2016)). “‘[T]o establish

 standing, a plaintiff must show (i) that he suffered an injury

 in fact that is concrete, particularized, and actual or

 imminent; (ii) that the injury was likely caused by the

 defendant; and (iii) that the injury would likely be redressed




                                     61
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 62 of 80



by judicial relief.’” Id. (quoting TransUnion LLC v. Ramirez,

141 S. Ct. 2190, 2203, (2021)).

     “A plaintiff pursuing injunctive relief may not rely solely

on past injury, but also must establish that “‘she is likely to

be harmed again in the future in a similar way.’” Id. (quoting

Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir. 2016)).

“[T]hreatened injury must be certainly impending to constitute

injury in fact, and . . . allegations of possible future injury

are not sufficient.” Am. C.L. Union v. Clapper, 785 F.3d 787,

800 (2d Cir. 2015) (cleaned up). “[A] plaintiff seeking

injunctive relief must demonstrate both a likelihood of future

harm and the existence of an official policy or its equivalent.”

Shain v. Ellison, 356 F.3d 211, 216 (2d Cir. 2004) (citing City

of Los Angeles v. Lyons, 461 U.S. 95, 105–06 (1983)).

     B. Permanent Injunction

     [A] plaintiff seeking a permanent injunction must
     satisfy a four-factor test before a court may grant such
     relief. A plaintiff must demonstrate: (1) that it has
     suffered an irreparable injury; (2) that remedies
     available at law, such as monetary damages, are
     inadequate to compensate for that injury; (3) that,
     considering the balance of hardships between the
     plaintiff and defendant, a remedy in equity is
     warranted; and (4) that the public interest would not be
     disserved by a permanent injunction.

SEC v. Citigroup Glob. Mkts., Inc., 752 F.3d 285, 296 (2d Cir.

2014) (quoting eBay, Inc. v. MercExchange, L.L.C., 547 U.S. 388,

391 (2006)). “The party requesting permanent injunctive relief

                                   62
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 63 of 80



must demonstrate (1) irreparable harm (here, a constitutional

violation) and (2) actual success on the merits.” Ognibene v.

Parkes, 671 F.3d 174, 182 (2d Cir. 2011) (citing Cartier v.

Symbolix, Inc., 454 F.Supp.2d 175, 186 (S.D.N.Y. 2006)).

     C. Eighth Amendment Deliberate Indifference

     “[D]eliberate indifference to serious medical needs of

prisoners constitutes the ‘unnecessary and wanton infliction of

pain’ proscribed by the Eighth Amendment.” Estelle v. Gamble,

429 U.S. 97, 104 (1976) (quoting Gregg v. Georgia, 428 U.S. 153,

173 (1976)). A plaintiff who alleges deliberate indifference to

his medical needs must satisfy both an “objective and a

subjective component.” Griffin v. Amatucci, 611 F. App’x 732,

734 (2d Cir. 2015). The objective test requires the plaintiff to

show that the “alleged deprivation of medical care ‘[is]

sufficiently serious,’” while under the subjective test the

plaintiff must demonstrate that the “defendant acted with the

requisite mental state . . . akin to criminal recklessness” in

so depriving the plaintiff of medical care. Id. (quoting

Hathaway v. Coughlin, 99 F.3d 550, 553 (2d Cir. 1996)).

     The objective test asks “(1) ‘whether the prisoner was

actually deprived of adequate medical care,’ meaning that the

officials responsible for his treatment ‘fail[ed] to take

reasonable measures in response to a medical condition’; and


                                   63
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 64 of 80



(2) ‘whether the inadequacy in medical care is sufficiently

serious.’” Green v. Shaw, 827 F. App’x 95, 96 (2d Cir. 2020)

(quoting Salahuddin v. Goord, 467 F.3d 263, 279–80 (2d Cir.

2006)).

     [I]f the unreasonable medical care is a failure to
     provide any treatment for an inmate’s medical condition,
     courts examine whether the inmate’s medical condition is
     sufficiently serious. Smith v. Carpenter, 316 F.3d 178,
     185–86 (2d Cir. 2003). Factors relevant to the
     seriousness of a medical condition include whether “a
     reasonable doctor or patient would find [it] important
     and   worthy    of   comment,”    whether   the   condition
     “significantly     affects     an     individual's    daily
     activities,” and whether it causes “chronic and
     substantial pain.” Chance v. Armstrong, 143 F.3d 698,
     702 (2d Cir. 1998) (quotation marks omitted). In cases
     where the inadequacy is in the medical treatment given,
     the seriousness inquiry is narrower. For example, if the
     prisoner is receiving on-going treatment and the
     offending    conduct   is   an    unreasonable   delay   or
     interruption in that treatment, the seriousness inquiry
     “focus[es] on the challenged delay or interruption in
     treatment rather than the prisoner’s underlying medical
     condition alone.” Smith, 316 F.3d at 185 (emphasis
     omitted).

Salahuddin, 467 F.3d at 280.

     The subjective test requires that the charged official act

with a “sufficiently culpable state of mind” called deliberate

indifference. Id. “Deliberate indifference is a mental state

equivalent to subjective recklessness” such that the charged

official must act “while actually aware of a substantial risk

that serious inmate harm will result.” Id. (citing Farmer v.

Brennan, 511 U.S. 825, 836-37, 839-40 (1994)). “[E]vidence that

the risk was obvious or otherwise must have been known to a
                                   64
      Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 65 of 80



defendant is sufficient to permit a jury to conclude that the

defendant was actually aware of it.” Brock v. Wright, 315 F.3d

158, 164 (2d Cir. 2003) (citing Farmer, 511 U.S. at 842).

      If the charged official “‘knew the underlying facts but

believed (albeit unsoundly) that the risk to which the facts

gave rise was insubstantial or nonexistent,’” then the official

did not act with deliberate indifference. Salahuddin, 467 F.3d

at 281 (citing Farmer, 511 U.S. at 844). If a charged official

“sincerely and honestly believed . . . that applying [a prison

policy mandating the denial of treatment] was, in plaintiff's

case, medically justifiable,” then a jury could infer the

absence of a sufficiently culpable state of mind. Id. (quoting

Johnson v. Wright, 412 F.3d 398, 404 (2d Cir.2005)). “[A]

physician may be deliberately indifferent if he or she

consciously chooses an easier and less efficacious treatment

plan.” Chance, 143 F.3d at 703 (internal quotations and

citations omitted).

IV.   Discussion
      A. Standing

      The Court will first address Dr. Moores’ argument that

Plaintiffs lack standing to seek a permanent injunction. (Moores

Br. at 16.) The Court will address this argument quickly as it

has already dealt with challenges to Plaintiffs’ standing in the



                                    65
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 66 of 80



preliminary injunction opinion issued in March 2023. (See Pre.

Inj. Op. at 45-49.) Through the evidence adduced at trial,

Plaintiffs have identified several DOCCS patients whose

effective pain medications were discontinued without medical

justification and who remain without effective treatment today.

See Section (II)(D), supra. This discontinuation of effective

pain medication meets the standard of a “concrete,

particularized, and actual” injury. Calcano, 36 F.4th at 74.

These injuries were caused by DOCCS medical providers, and they

are redressable by judicial relief. Thus, Plaintiffs have

standing to seek a permanent injunction. See Section (III)(A),

supra.

     B. Success on the Merits of the Deliberate Indifference
        Claim

     The Court next turns to the first element of the permanent

injunction analysis: irreparable harm and actual success on the

merits. As laid out above, a constitutional violation meets the

standard of irreparable harm. See Ognibene, 671 F.3d at 182.

Thus, the only question under this element is whether Plaintiffs

succeed on the merits of their deliberate indifference claim. To

address this question, the Court returns to the evidence adduced

at trial.




                                   66
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 67 of 80



        i.   DOCCS’ Treatment of Ramal Myriee

     Ramal Myriee suffers from diabetic neuropathy and

degenerative disc disease. (Sept. 5 Tr. at 188:8-11.) Mr. Myriee

testified that even when he was on a lower dose of Neurontin,

his pain was at one point so severe that he asked to have his

feet amputated. (Id. at 198:8-199:18.) Mr. Myriee testified that

his pain makes it hard for him to walk, “unbearable” to sleep,

and his condition leaves his legs and feet constantly swollen.

(Id. at 190:13-18; 195:10-13.) Together, these facts meet the

objective seriousness prong of deliberate indifference. A

condition that causes pain so severe that the patient requests

to have the affected limb amputated is a condition that is

“worthy of comment” to a reasonable doctor or patient and

exceeds the standard of causing “chronic and substantial pain.”

Salahuddin, 467 F.3d at 280. Further, Mr. Myriee’s condition

“significantly affects” his daily activities by inhibiting his

ability to walk and sleep. Id.

     DOCCS’ treatment of Mr. Myriee also meets the standard for

a provider acting with a sufficiently culpable state of mind.

Mr. Myriee testified credibly that his Neurontin prescription

was discontinued upon his arrival at Woodbourne, without his

meeting with a medical provider, (Sept. 5 Tr. at 201:11-13;

202:8-15), in violation of DOCCS’ Policy 1.24A. Mr. Myriee

testified credibly that after the discontinuation, he filed sick
                                   67
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 68 of 80



call requests every day complaining about his pain. (Id. at

202:25-203:19.) Mr. Myriee testified that he met with two

medical providers, PA Switz and Dr. Ruiz, explained to them the

pain he was experiencing, and told them that Neurontin had

effectively treated his pain in the past. (Id. at 203:20-24;

204:3-8; 205:12-206:1.) Mr. Myriee testified that he attempted

to prove to Dr. Ruiz how serious his illness was by showing her

his feet, which he testified were turning black and losing their

toenails. (Id. at 205:12-206:1; 206:8-207:3.) Mr. Myriee

testified credibly that both PA Switz and Dr. Ruiz brushed off

his concerns without bothering to examine him. (Id. at 203:20-

24; 205:12-206:1; 206:5-7.) Without treatment, Mr. Myriee was

left in such bad shape that his mental health provider was moved

to re-prescribe him Cymbalta, another of Mr. Myriee’s

prescriptions that had been discontinued upon his arrival at

Woodbourne. (Id. at 217:19-219:8.)

     Mr. Myriee’s deteriorating condition, headlined by the

disturbing degeneration of his feet, was obvious to his mental

health provider and should have been obvious or otherwise known

to PA Switz and Dr. Ruiz. This evidence is sufficient to permit

the Court to conclude that PA Switz and Dr. Ruiz were actually

aware of the substantial risk of serious harm that would result

to Mr. Myriee from their failure to treat him. Salahuddin, 467

F.3d at 280; Brock, 315 F.3d at 164.
                                   68
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 69 of 80



     The strength of this evidence is compounded by the fact

that Dr. Moores testified she was personally aware of the

deficiencies in Dr. Ruiz’s treatment. (Sept. 7 Tr. at 618:20-

619:7.) While Dr. Moores appears to be taking sufficient steps

to train and discipline Dr. Ruiz, (id. at 619:7-13), Dr. Moores

did not provide any evidence that DOCCS had remedied whatever

harm Dr. Ruiz might have caused to her patients. The fact that

Mr. Myriee remains insufficiently treated is itself evidence

that Dr. Ruiz’s patients are still suffering.

     In response, Dr. Moores notes that Mr. Myriee receives

buprenorphine through the MAT program and Cymbalta through his

mental health provider, both of which are used to treat pain in

some instances. (Moores Br. at 7-8.) Dr. Moores rather brazenly

asserts that Mr. Myriee is not being denied any pain treatment.

(Id. at 23.) However, where Dr. Moores concedes that a DOCCS

provider discontinued a patient’s effective treatment in

violation of Policy 1.24A, and the provider discontinued the

treatment without an individual assessment or a medical

justification, it is not sufficient that the patient receives

prescriptions through other means that happen to be used as pain

treatments in some cases. Mr. Myriee testified that the

buprenorphine he receives through the MAT program is to treat

his heroin addiction. (Sept. 5 Tr. at 207:4-9.) Mr. Myriee

testified he received the Cymbalta through his mental health
                                   69
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 70 of 80



provider, who was moved to prescribe it because of Mr. Myriee’s

deteriorating condition. (Id. at 217:19-219:8.) Mr. Myriee

further testified that the Cymbalta only “[s]lightly” relieved

his pain. (Id. at 219:15-17.) Neither of these prescriptions

reflects an attempt by Dr. Ruiz or PA Switz to treat

Mr. Myriee’s chronic pain. In addition, Dr. Moores did not offer

any testimony by Dr. Ruiz or any of Mr. Myriee’s medical records

to show that Mr. Myriee’s chronic pain is adequately treated.

       ii.   DOCCS’ Treatment of Richard Vasquez

     DOCCS’ treatment of Richard Vasquez also meets the

deliberate indifference standard. Mr. Vasquez suffers from

chronic pain in his lower lumbar area, both hips, and his left

foot. (Sept. 5 Tr. at 128:22-129:2.) Mr. Vasquez testified that

when he sat for long periods, his body went numb, he would

experience radiating pain down his leg and up his spine, and he

could lose control of his bladder or his bowels. (Id. at 137:24-

138:8.) Mr. Vasquez testified that he was in pain even as he

testified. (Id. at 167:18-19.) In addition, in January 2023,

Mr. Vasquez was soaked with gallons of scalding water, leading

to second degree burns across his upper body that have caused

him nerve pain throughout the affected area, which he described

as “needles just sticking [him] everywhere.” (Id. at 142:20-22.)

Each of these conditions meets the objective seriousness prong

of deliberate indifference, being worthy of comment to a
                                   70
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 71 of 80



reasonable doctor or patient, significantly affecting

Mr. Vasquez’s daily activities, and causing chronic and

substantial pain. Salahuddin, 467 F.3d at 280.

     DOCCS’ treatment of Mr. Vasquez meets the standard for a

provider acting with a sufficiently culpable state of mind.

First, after he returned from the hospital where his burns were

initially treated, Mr. Vasquez was given Neurontin and Percocet

for three or four days before the medications were discontinued.

(Sept. 5 Tr. at 143:16-144:7.) That Mr. Vasquez was a

complaining patient recovering from second degree burns and

suffering from documented nerve pain across his body is

sufficient to allow the Court to conclude that Mr. Vasquez’s

providers were actually aware of the serious risk of harm that

would result from their failure to treat Mr. Vasquez.

Salahuddin, 467 F.3d at 280; Brock, 315 F.3d at 164 (citation

omitted).

     Second, Mr. Vasquez’s provider, NP Schrader, prescribed him

baclofen in May 2023 even though Mr. Vasquez told her that he

had tried baclofen in the past and that it did not work to

alleviate his pain. (Id. at 140:9-14; 146:1-21.) Dr. Moores

argues that Mr. Vasquez “does not have a constitutional right to

his drug of choice.” (Moores Br. at 20.) While that may be

accurate, Dr. Moores’ argument is a strawman. Mr. Vasquez is not


                                   71
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 72 of 80



demanding that he be treated with Neurontin, he is demanding

effective treatment.

     Mr. Vasquez’s pain was effectively treated with Neurontin

for more than three years before it was discontinued in 2020 by

his DOCCS provider at Marcy without any medical justification.

(See Section (II)(E)(ii), supra.) Due to DOCCS’ decision to

discontinue his effective treatment, Mr. Vasquez has suffered

three years of unmitigated pain and diminished quality of life.

When medical providers discontinue effective medications without

justification and they start patients on medications that have

already been documented as failures, they are “causing harm” to

their patients. (Sept. 6 Tr. at 282:7-283:1.) Though medical

providers can point to treatments they undertook to defend

against an accusation of deliberate indifference, medical

providers cannot benefit from that defense when they

subjectively knew that the treatment they provided had already

been tried and failed and thus was likely to be ineffective. See

Hathaway v. Coughlin, 37 F.3d 63, 68 (2d Cir. 1994) (“A jury

could infer deliberate indifference from the fact that [the

defendant doctor] knew the extent of [the patient’s] pain, knew

that the course of treatment was largely ineffective, and




                                   72
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 73 of 80



declined to do anything more to attempt to improve [the

patient’s] situation.”). 19

     Dr. Moores relies on Acosta v. Thomas, 837 F. App’x 32 (2d

Cir. 2020), which she characterizes as a “standalone MWAP case,”

(Moores Br. at 18), for the proposition that the “mere ‘fact

that a prisoner might prefer a different treatment’ does not

give rise to an Eighth Amendment violation.” (Id. at 17 (quoting

Acosta, 837 F. App’x at 35).) In Acosta, the Court of Appeals

held that Acosta’s provider, Dr. Vladlamudi, was not

deliberately indifferent in deciding to taper Acosta’s Neurontin

prescription and substitute first Motrin, then Tylenol, for his

pain. Acosta, 837 F. App’x at 34-35. However, the facts in

Acosta differ dramatically from the facts in this case.

     In Acosta, the defense presented evidence regarding

Dr. Vladlamudi’s medical judgment that justified discontinuing

Acosta’s Neurontin prescription. Id. at 34 (discussing

Dr. Vladlamudi’s concerns regarding Neurontin’s addictive


19Dr. Moores suggests that a medical provider must have an
improper motive for choosing an “easier and less efficacious
treatment plan than otherwise available” for there to be a
finding of deliberate indifference. (Moores Br. at 18 (quoting
O’Connor v. McArdle, 217 F. App’x 81, 83 (2d Cir. 2007), and
citing Williams v. Vincent, 508 F.2d 541, 544 (2d Cir. 1974);
Chance, 143 F.3d at 702). However, if the provider “knew that
the prescribed course of treatment would be ineffective,” that
may be sufficient for a finding of deliberate indifference.
Tolliver v. Sidorowicz, 714 F. App’x 73, 74 (2d Cir. 2018)
(citing Chance, 143 F.3d at 703).
                                   73
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 74 of 80



properties and side effects and its long-term use for a well-

controlled condition). Such facts are largely absent from the

record before the Court in this case. In addition,

Dr. Vladlamudi tapered Acosta’s Neurontin prescription only

after he conducted a “comprehensive review of Mr. Acosta’s

medical history” and monitored Acosta’s medical need for

Neurontin over a thirty-day period, id., a process that exhibits

a level of forethought, caution, and care that is totally unlike

the abrupt, mechanical way in which the patients in this case

had their prescriptions discontinued. Finally, in Acosta, there

was evidence that Acosta told medical staff that the Tylenol he

received helped with his pain and that Acosta did not make clear

to his providers that his pain was not effectively controlled by

Tylenol. Id. at 35. That is in stark contrast to the patients in

this case, who testified that they complained repeatedly about

the debilitating nature of their pain and the inefficacy of

their treatment. 20




20Dr. Moores also cites Lacen v. Aygemong, 2022 WL 14177191
(2d Cir. Oct. 25, 2022) and Reyes v. Gardener, 93 F. App’x 283
(2d Cir. 2004). (See Moores Br. at 17–18.) Each case is not on
point for a similar reason: the DOCCS medical providers in those
cases took steps to care for their patients that were
significantly more responsive and effective than those taken
here. In Lacen, when the patient complained of back pain, his
providers prescribed him medications, sent him for x-rays,
referred him to physical therapy and a neurologist, and gave him
extra blankets, a cane, and special shoes. Lacen, 2022 WL
14177191, at *1. His only complaint was (footnote continued)
                                   74
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 75 of 80



      iii.   DOCCS’ Policy or Custom Violates Federal Law

     Dr. Moores asserts that Plaintiffs failed to prove that the

mistreatment they complain of was caused by a DOCCS policy or

custom. (Moores Br. at 19.) This argument fails. In a

declaration filed before this Court, Dr. Moores wrote that the

“MWAP Policy placed all decision-making authority into the hands

of the [RMDs] regarding the prescription of pain management

medication and as a result, many patients were denied the pain

treatment they needed.” (Dkt. no. 489 at ¶ 13.) Plaintiffs have

identified several patients whose effective medications were

discontinued when the MWAP Policy was in place who remain

insufficiently treated. (See Sections (II)(E)(ii) and

(II)(E)(v), supra.) The testimony of these patients demonstrates

that that DOCCS’ MWAP policy is responsible for ongoing

violations of federal law because its impacts remain in place

despite its being officially rescinded by DOCCS. In addition,

Plaintiffs identified several patients who entered DOCCS’



(continued) that he was not given a second mattress on which to
sleep. Id. Similarly, in Reyes, Reyes’s providers designed a
detailed treatment plan that involved scaling Reyes’s
medications as necessary to treat his sickle cell affliction.
Reyes, 93 F. App’x at 284-85. In each sickle cell crisis that
Reyes invoked in his complaint, he ultimately received the
medication that he wanted. Id. The Court of Appeals held that it
was not a case where “defendants refused to treat Reyes’s
condition, failed to provide prescribed treatment, or placed
unreasonable conditions on the receipt of treatment.” Id. at
285.


                                   75
      Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 76 of 80



custody after the MWAP Policy was replaced by Policy 1.24A yet

had their effective medication discontinued and were told that

their medication was not given at their facility. (See Sections

(II)(D)(ii), (II)(E)(i), (II)(E)(iv), supra.) 21 This testimony

demonstrates that not all facilities or providers have updated

their customs and practices following the repeal of the MWAP

Policy. 22

     As it did at the preliminary injunction stage, the Court

acknowledges that one or two examples of inmates’ being denied

adequate pain medications might not be sufficient to demonstrate

the systemic issues that would support success on the merits of

the Plaintiff Class’s claim that DOCCS’ medical system is

deliberately indifferent to its patients’ chronic pain needs.




21Dr. Moores asserts that this testimony is contradicted by her
testimony that medical providers in all of DOCCS’ prisons were
prescribing Ultram, Lyrica, Cymbalta, or Neurontin, as far as
she is aware. (Sept. 7 Tr. at 610:6-611:13.) While Dr. Moores’
testimony may be true, Dr. Moores did not testify that all of
DOCCS’ medical providers were prescribing these medications.
Thus, the Plaintiffs’ testimony may accurately describe the
practice at the time they were told these statements or the
practice of the providers by whom they were treated, and the
Court so finds.

22It also does not inspire confidence that several of the
patients had their treatments reinstated the day before their
depositions were scheduled to go forward in this case, (see
Sections (II)(C)(ii), (II)(D)(ii), supra), or following
intercessions by Plaintiffs’ Counsel on their clients’ behalf,
(see Sections (II)(B)(i) and (II)(B)(ii), supra).
                                    76
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 77 of 80



That is not this case. 23 Here, the totality of the evidence

detailed above demonstrates a pervasive failure across multiple

DOCCS facilities of multiple DOCCS medical providers to provide

reasonable pain medications to inmates suffering from

debilitating pain while actually aware that the lack of

medication would result in such pain – that is, with the

requisite objective pain and subjective state of mind. Thus, the

Court concludes that Plaintiffs have succeeded on the merits of

their Eighth Amendment claim. 24 Because the Court has found

ongoing violations of the Plaintiffs’ Eighth Amendment rights,

and that Plaintiffs continue to suffer due to inadequate

treatment, the Court also holds that the remedies available at

law, such as monetary damages, are inadequate to compensate for

this injury.


23Indeed, the Court could go on to analyze the two-and-a-half-
year delay in treatment to which Mr. Confessore was subjected.
(Sept. 7 Tr. at 532:7-16.) The Court could discuss Mr. Pine’s
testimony that his effective medication was discontinued upon
transfer in violation of Policy 1.24A. (Sept. 5 Tr. at 57:23-
58:18.) The Court could examine the “trial and error” approach
Mr. Lindemann received in his care after his provider
“discontinued something that was working.” (Id. at 95:9-12.) Any
of these examples could be additional instances of deliberate
indifference. However, because that point has been made, the
Court declines to spill further ink on the issue.

24For the reasons above, the Court rejects Dr. Moores’ arguments
that Plaintiffs have failed to establish: 1) a “cognizable
danger of recurrent violation;” 2) a “threat of actual, non-
remote and imminent harm that is likely to recur” related to the
MWAP Policy; or 3) anything but a “speculative harm.” (Moores
Br. at 25-26.)
                                   77
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 78 of 80



     C. The Balance of Hardships and the Public Interest

     Dr. Moores testified at trial regarding several challenges

she faced in implementing two pieces of the preliminary

injunction order. (Sept. 7 Tr. at 624:17-635:22.) Dr. Moores

also raises the principles of “caution, restraint, and deference

to state authorities in issuing injunctive relief regarding

prison conditions” embodied in the Court of Appeals’ precedent

Dean v. Coughlin. (Moores Br. at 30 (citing Dean, 804 F.2d at

215). However, as it did at the preliminary injunction stage,

the Court finds that remedying the constitutional violations in

DOCCS’ pain management practices outweighs the administrative

challenges DOCCS will face in implementing a permanent

injunction and the federalism principles that caution against

federal courts’ intervening in the administration of state

prisons. Therefore, the Court finds that the balance of equities

tips in Plaintiffs’ favor and that a permanent injunction would

be in the public interest. Plaintiffs’ motion for a preliminary

injunction is GRANTED.

V.   Conclusion
     For the reasons above, Plaintiffs’ application to convert

the preliminary injunction into a permanent injunction is

GRANTED. The Court remains sensitive to the cautions embodied in

Dean and Dr. Moores’ concerns regarding the implementation of a

permanent injunction. As such, the Court will reserve ruling on

                                   78
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 79 of 80



the provisions of the permanent injunction until it has heard

from the parties.

     When, out of deference to Dr. Moores’ expertise as a prison

administrator, the Court gave Dr. Moores the opportunity to

draft the provisions of the preliminary injunction, Dr. Moores

drafted a set of provisions that the Court felt bordered on bad

faith because they applied only to the class members who had

testified at the preliminary injunction hearing. (See dkt. no.

575-1.) To avoid any misunderstandings, the Court provides the

parties with the following instructions regarding their

proposals for the provisions of the permanent injunction.

     A good faith proposal shall be applicable to the Plaintiff

Class as a whole. A good faith proposal shall outline how DOCCS

will identify any patients remaining in its care whose effective

pain medications were discontinued under the MWAP Policy and how

DOCCS will assess whether those patients require additional or

alternative treatment to adequately address their chronic pain.

A good faith proposal shall identify the remaining steps DOCCS

must take to ensure that Policy 1.24A is effectively implemented

across all its facilities and adhered to by all its medical

providers.

     Keeping these instructions in mind, counsel shall confer

and file a proposal for the provisions of the permanent

                                   79
     Case 1:19-cv-08173-LAP Document 807 Filed 10/31/23 Page 80 of 80



injunction. If counsel cannot agree on a single proposal,

Dr. Moores’ Counsel and Plaintiffs’ Counsel shall file separate

proposals while highlighting for the Court any areas of

disagreement. Whether filing jointly or separately, counsel

shall file their proposal(s) within two weeks of the date of

this opinion.




SO ORDERED.

Dated:    October 31, 2023
          New York, New York


                            __________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge




                                   80
